Case No. 1:22-cv-01129-NYW-SKC Document 1-1 filed 05/05/22 USDC Colorado pg 1 of
                                     67




                                                    DATE FILED: April 4, 2022 6:21 PM
   DISTRICT COURT, DENVER COUNTY,                   FILING ID: 91DE483254C83
   COLORADO                                         CASE NUMBER: 2022CV30920
   1437 Bannock Street
   Denver, CO 80202

   ERIC COOMER, Ph.D.,
   Plaintiff

   vs.

   MICHAEL J. LINDELL, FRANKSPEECH
   LLC, AND MY PILLOW, INC.,                       ▲ COURT USE ONLY ▲
   Defendants
   Attorneys for Plaintiff
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                 ORIGINAL COMPLAINT AND JURY DEMAND




                                         1
                                                         Exhibit A
Case No. 1:22-cv-01129-NYW-SKC Document 1-1 filed 05/05/22 USDC Colorado pg 2 of
                                     67




         Plaintiff Eric Coomer, Ph.D. (Dr. Coomer), by and through undersigned counsel,

  brings this defamation action against Michael J. Lindell (Lindell), Frankspeech LLC, and

  My Pillow, Inc. (collectively Defendants).

                                    I.     INTRODUCTION

         1.     This case arises from efforts by a wealthy businessman and his multiple

  media and business entities to target a private individual with false allegations of criminal

  conduct on a scale unprecedented in American history. Lindell and his related companies

  Frankspeech LLC and My Pillow, Inc. have been among the most prolific vectors of

  baseless conspiracy theories claiming election fraud in the 2020 election. The real-world

  consequences for the subjects of those lies have been devastating.

         2.     Throughout his efforts to undermine faith in American democracy and

  enrich himself in the process, Lindell and his companies have gone out of their way to

  target Dr. Coomer, former Director of Product Strategy and Security for Dominion Voting

  Systems. Defendants began this targeted defamation campaign after Lindell aligned

  himself with an Antifa-obsessed Colorado podcaster and conspiracy theorist,

  Joseph Oltmann, who had made up a story about overhearing someone identified only as

  “Eric, the Dominion guy” claim to have rigged the election against former President

  Trump on a supposed “Antifa conference call.” Oltmann claimed this supposed call

  happened on some unspecified date months before the election, but that he did not think

  to take action on the alleged plot until after the election was called for President Biden.

  Oltmann claimed that he later identified Dr. Coomer as the anonymous “Eric” referred to

  by other anonymous third parties on the supposed call by simply Googling




                                               2
Case No. 1:22-cv-01129-NYW-SKC Document 1-1 filed 05/05/22 USDC Colorado pg 3 of
                                     67




  “Eric Dominion Denver Colorado.”         Days after making his false claims against

  Dr. Coomer, Oltmann then fabricated evidence to suggest that this Google search had

  occurred in late September, when it had not. Oltmann’s story is inherently implausible.

  Lindell, however, has a long history of publishing and amplifying any story he hears that

  aligns with his preconceived narrative that the election was rigged, and Oltmann’s

  baseless lies about Dr. Coomer soon made their way into Lindell’s rotation.

         3.     Since aligning himself with Oltmann, Lindell has publicly accused

  Dr. Coomer of being “a traitor to the United States.” He has claimed, without evidence,

  that Dr. Coomer committed treason and that he should turn himself into the authorities.

  Defendants have published these numerous false statements, defamatory interviews, and

  other dishonest content maligning Dr. Coomer on the website frankspeech.com often

  alongside a sales pitch for products from MyPillow. In addition, Defendants further made

  claims against Dr. Coomer a centerpiece of a failed “Cyber Symposium” that they

  organized and broadcast around the world.

         4.     Despite Defendants’ baseless claims of election fraud being disproven by

  credible authorities across political parties, they persist in their campaign to profit from

  of the “Big Lie” by destroying the lives of private individuals like Dr. Coomer. They have

  not acknowledged the harm they have caused, nor have they retracted any of their false

  statements. The damage caused to Dr. Coomer by Defendants’ conduct is immense. After

  more than fifteen years as a respected professional at the top of his field, Dr. Coomer’s

  reputation has been irreparably tarnished. He can no longer work in the elections

  industry on account of the unwarranted distrust inspired by Defendants’ lies, and instead




                                               3
Case No. 1:22-cv-01129-NYW-SKC Document 1-1 filed 05/05/22 USDC Colorado pg 4 of
                                     67




  now endures frequent credible death threats and the burden of being made the face of an

  imagined criminal conspiracy of unprecedented scope in American history.

                                     II.    PARTIES

        5.     Plaintiff Eric Coomer, Ph.D. is an individual domiciled in Colorado who may

  be contacted c/o Cain & Skarnulis PLLC, P.O. Box 1064, Salida, Colorado 81201.

        6.     Defendant Michael J. Lindell is an individual domiciled in Minnesota, and

  the founder and CEO of Frankspeech LLC and My Pillow, Inc. Lindell may be served with

  process at 1440 Bavarian Shores Drive, Chaska, Minnesota 55318; 343 E. 82nd Street,

  Suite 102, Chaska, Minnesota; or wherever he may be located. Lindell has published and

  sponsored defamatory statements directed at and received by Colorado audiences.

        7.     Frankspeech LLC (Frankspeech) is a limited liability company organized

  and existing under the laws of the state of Delaware. Frankspeech may be served with

  process through its registered agent Registered Agent Solutions, Inc., 838 Walker Road,

  Suite 21-2, Dover, Delaware 19904, or by serving its Chief Executive Officer Lindell

  wherever he may be located. Frankspeech broadcasts its programming to a national

  audience on its own website frankspeech.com.            The Frankspeech website hosts

  defamatory content recorded in Colorado and produced by Frankspeech, as well as other

  defamatory content recorded in Colorado that was directed at and received by Colorado

  audiences.   Frankspeech is independently liable for its own tortious conduct, and

  vicariously liable for the conduct of Defendant Lindell, who at all times relevant was

  acting as an agent and representative of Frankspeech.




                                             4
Case No. 1:22-cv-01129-NYW-SKC Document 1-1 filed 05/05/22 USDC Colorado pg 5 of
                                     67




         8.     Defendant My Pillow, Inc. (MyPillow) is a for-profit corporation with its

  principal place of business in Chaska, Minnesota. MyPillow may be served with process

  by serving its Chief Executive Officer Lindell at 1440 Bavarian Shores Drive, Chaska,

  Minnesota 55318; 343 E. 82nd Street, Suite 102, Chaska, Minnesota; or wherever he may

  be located. MyPillow published defamatory statements about Dr. Coomer in Colorado

  and directed such defamatory statement at Colorado audiences via its agent Lindell.

  MyPillow has sponsored and sought to profit from the false and defamatory publications

  by co-Defendants Lindell and Frankspeech. At all relevant times, Lindell was acting as

  an agent and representative of MyPillow.

                              III.   JURISDICTION AND VENUE

         9.     This Court has subject matter jurisdiction pursuant to Article VI, section 9

  of the Colorado Constitution and C.R.S. section 13-1-124.

         10.    This Court has personal jurisdiction over Defendants pursuant to

  C.R.S. § 13-1-124 because Defendants transacted business in Colorado and committed

  tortious acts within Colorado.

         11.    Specifically, this Court has personal jurisdiction over Lindell because he

  committed tortious acts against a resident of the state of Colorado giving rise to this cause

  of action. Lindell had the knowledge and intent that: the effects of his actions would be

  felt in the state of Colorado; the injury would occur in Colorado; and that his defamatory

  messages would be directed at Colorado. See Keeton v. Hustler Magazine, 465 U.S. 770,

  776-81 (1984) (finding “libel is generally held to occur wherever the offending material is

  circulated” and a defendant continuously and deliberately exploiting a market “must




                                               5
Case No. 1:22-cv-01129-NYW-SKC Document 1-1 filed 05/05/22 USDC Colorado pg 6 of
                                     67




  reasonably anticipate being haled into court there in a libel action”). Lindell derived his

  defamatory statements from Coloradan sources. 1                   The subject of those statements

  concerned a Colorado resident and that resident’s work and employment for a business

  based in Colorado, making Colorado an integral focal point for his defamatory

  statements.2 See Calder v. Jones, 465 U.S. 783, 788-89 (1984); see also Keeton, 465 U.S.

  at 780 (recognizing a plaintiff’s residence may be relevant to the jurisdictional inquiry as

  it “may be the focus of the activities of the defendant out of which the suit arises”). Lindell

  purposefully sought a national audience and directed promotional materials to Colorado

  and Coloradan audiences for circulation, which were received by Coloradan audiences. 3

  See Keeton, 465 U.S. at 776-81.

          12.     This Court may exercise personal jurisdiction over Frankspeech because it

  committed tortious acts against a resident of the state of Colorado giving rise to this cause

  of action. Frankspeech had the knowledge and intent that: the effects of its actions would

  be felt in the state of Colorado; the injury would occur in Colorado; and that its

  defamatory messages would be directed at Colorado. See Keeton, 465 U.S. at 776-81.

  Frankspeech derived its defamatory statements from Coloradan sources and published




  1 Lindell knowingly relied on Oltmann as his source for his false statements; specifically identified Oltmann

  as a Denver, Colorado businessman within his statements; and derived those statements from information
  Oltmann allegedly gained while in Colorado. See infra at ¶¶ 27, 38, 60, 81, 89.
  2 Lindell knowingly relied on Dr. Coomer, a Colorado resident, and Dominion, a business based in Colorado,

  and alleged actions and events taken in Colorado as the subject of his false statements. See infra at ¶¶ 27,
  33, 60, 89.
  3 Lindell knowingly published his statements using national platforms and broadcasts that purposefully

  direct their statements into the state of Colorado and to Coloradan audiences. Lindell intended to reach
  every citizen in the United States and purposefully sought this national audience, which included Colorado
  and Coloradan audiences. See infra at ¶¶ 46, 49, 69, 71.




                                                       6
Case No. 1:22-cv-01129-NYW-SKC Document 1-1 filed 05/05/22 USDC Colorado pg 7 of
                                     67




  defamatory statements that were recorded in Colorado.4 The subject of those statements

  concerned a Colorado resident and that resident’s work and employment for a business

  based in Colorado, making Colorado an integral focal point for its defamatory

  statements.5      See Calder, 465 U.S. at 788-89; see also Keeton, 465 U.S. at 780.

  Frankspeech purposefully sought a national audience and directed promotional materials

  to Colorado and Coloradan audiences for circulation, which are received by Coloradan

  audiences.6 See Keeton, 465 U.S. at 776-81.

          13.     This Court may exercise personal jurisdiction over MyPillow because it

  committed tortious acts against a resident of the state of Colorado giving rise to this cause

  of action. MyPillow had the knowledge and intent that: the effects of its actions would be

  felt in the state of Colorado; the injury would occur in Colorado; and that its defamatory

  messages would be directed at Colorado. See Keeton, 465 U.S. at 776-81. MyPillow

  derived its defamatory statements from Coloradan sources and published defamatory

  statements that were recorded in Colorado.7 The subject of those statements concerned

  a Colorado resident and that resident’s work and employment for a business based in



  4 Frankspeech knowingly relied on Oltmann as its source for its false statements; specifically identified

  Oltmann as a Denver, Colorado businessman within its statements; and derived those statements from
  information Oltmann allegedly gained while in Colorado. See infra at ¶¶ 27, 38, 53-54, 58, 81, 89.
  5 Frankspeech knowingly relied on Dr. Coomer, a Colorado resident, and Dominion, a business based in

  Colorado, and alleged actions and events taken in Colorado as the subject of its false statements. See infra
  at ¶¶ 27, 38, 53-54, 58, 89.
  6 Frankspeech knowingly published its statements using national platforms and broadcasts that
  purposefully direct their statements into the state of Colorado and to Coloradan audiences. Frankspeech
  intended to reach every citizen in the United States and purposefully sought this national audience, which
  included Colorado and Coloradan audiences. See infra at ¶¶ 46, 49, 53, 69, 71.
  7 MyPillow knowingly relied on Oltmann as its source for its false statements; specifically identified
  Oltmann as a Denver, Colorado businessman within its statements; and derived those statements from
  information Oltmann allegedly gained while in Colorado. See infra at ¶¶ 27, 38, 53-54, 58, 81, 89.




                                                       7
Case No. 1:22-cv-01129-NYW-SKC Document 1-1 filed 05/05/22 USDC Colorado pg 8 of
                                     67




  Colorado, making Colorado an integral focal point for its defamatory statements.8

  See Calder, 465 U.S. at 788-89; see also Keeton, 465 U.S. at 780. MyPillow purposefully

  sought a national audience and directed promotional materials to Colorado and

  Coloradan audiences for circulation, which are received by Coloradan audiences. 9

  See Keeton, 465 U.S. at 776-81.

          14.     Requiring Defendants to litigate these claims in Colorado does not offend

  traditional notions of fair play and substantial justice and is permitted by the Due Process

  Clause of the United States Constitution. Dr. Coomer’s claims arise from defamatory

  statements Defendants not only published in Colorado, but also from defamatory

  statements made and recorded in the state of Colorado that were directed at and received

  by Colorado audiences. Jurisdiction in Colorado provides for the efficient resolution of

  the claims herein.

          15.     Jurisdiction in Colorado provides for the efficient resolution of the claims

  herein. Venue is proper in this Court pursuant to Colorado Rule of Civil Procedure 98

  because a substantial part of the events and omissions giving rise to the claims occurred

  in Denver County, Colorado.




  8 MyPillow   knowingly relied on Dr. Coomer, a Colorado resident, and Dominion, a business based in
  Colorado, and alleged actions and events taken in Colorado as the subject of its false statements. See infra
  at ¶¶ 27, 38, 53-54, 58, 89.
  9 MyPillow knowingly published its statements using national platforms and broadcasts that purposefully

  direct their statements into the state of Colorado and to Coloradan audiences. Frankspeech intended to
  reach every citizen in the United States and purposefully sought this national audience, which included
  Colorado and Coloradan audiences. See infra at ¶¶ 46, 49, 53, 69, 71.




                                                       8
Case No. 1:22-cv-01129-NYW-SKC Document 1-1 filed 05/05/22 USDC Colorado pg 9 of
                                     67




                                             IV.     FACTS

         16.     Plaintiff Dr. Coomer is the former Director of Product Strategy and Security

  for Dominion Voting Systems. Dominion is based in Denver, Colorado and provides

  election support services across the United States, including from initial project

  implementation through election set-up, ballot layout, multiple language audio, machine

  set-up, and system testing. Dominion provided election related services to at least 30

  different states during the 2020 presidential election.

  A.     The 2020 presidential election was a free and fair election.

         17.     The 2020 presidential election results have been verified by numerous

  independent entities, including government officials and agencies.                  State elections

  officials tasked with verifying the election and vote counts certified the election results

  across all 50 states and the District of Columbia.10 Electors met and formally cast their

  ballots with President Joe Biden securing 306 electoral votes and winning the popular

  vote by more than seven million votes.11 Despite incited violence, Congress formally




  10 See Maggie Astor, et al., Biden Secures Enough Electors to Be President, N.Y. TIMES (Dec. 9, 2020),

  https://www.nytimes.com/interactive/2020/11/20/us/politics/2020-election-certification-tracker.html
  (“Election results have now been certified in all 50 states and Washington, D.C.”).
  11See Nick Corasaniti, et. al., Electoral College Vote Officially Affirms Biden’s Victory, N.Y. TIMES
  (Dec. 14, 2020), https://www.nytimes.com/2020/12/14/us/politics/biden-electoral-college.html




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Case No. 1:22-cv-01129-NYW-SKC Document 1-1 filed 05/05/22 USDC Colorado pg 10 of
                                     67




   counted the electoral votes, and former Vice President Mike Pence declared Joe Biden the

   winner of the presidential election.12

          18.     On November 12, 2020, the Cybersecurity & Infrastructure Security Agency

   (CISA), a standalone United States federal agency under the Department of Homeland

   Security, issued a Joint Statement from the Elections Infrastructure Government

   Coordinating Council and the Elections Infrastructure Sector Coordinating Executive

   Committees stating:

          The November 3rd election was the most secure in American history. Right
          now, across the country, election officials are reviewing and double
          checking the entire election process prior to finalizing the result.

          When states have close elections, many will recount ballots. All of the states
          with close results in the 2020 presidential race have paper records of each
          vote, allowing the ability to go back and count each ballot if necessary. This
          is an added benefit for security and resilience. This process allows for the
          identification and correction of any mistakes or errors. There is no
          evidence that any voting system deleted or lost votes, changed
          votes, or was in any way compromised.

          Other security measures like pre-election testing, state certification of
          voting equipment, and the U.S. Election Assistance Commission’s (EAC)
          certification of voting equipment help to build additional confidence in the
          voting systems used in 2020.

          While we know there are many unfounded claims and opportunities for
          misinformation about the process of our elections, we can assure you we
          have the utmost confidence in the security and integrity of our elections,
          and you should too. When you have questions, turn to elections officials as
          trusted voices as they administer elections.13


   12 See John Wagner, et al., Pence declares Biden winner of presidential election after Congress finally

   counts electoral votes, WASH. POST (Jan. 7, 2021), https://www.washingtonpost.com/politics/2021/01/0
   6/congress-electoral-college-vote-live-updates/ .
   13 CISA, Joint Statement from Elections Infrastructure Gov’t Coordinating Council & the Election
   Infrastructure      Sector       Coordinative         Exec. Comms.        (Nov.      12,  2020),
   https://www.cisa.gov/news/2020/11/12/joint-statement-elections-infrastructure-government-
   coordinating-council-election (emphasis in original).




                                                     10
Case No. 1:22-cv-01129-NYW-SKC Document 1-1 filed 05/05/22 USDC Colorado pg 11 of
                                     67




           19.     Former      Director of CISA, Chris Krebs, after his dismissal by

   President Trump, acknowledged that states had transitioned to auditable voting systems

   with paper-based ballots that could be recounted, independent of any allegedly hacked

   software or hardware.14 Krebs explained that these paper ballots, when paired with state

   post-election checks, ensured the accuracy of the voting counts.

           20.     On November 16, 2020, 59 of the top computer scientists and election

   security experts in the country issued a joint letter affirming that no election manipulation

   had occurred, stating, “To our collective knowledge, no credible evidence has been put

   forth that supports a conclusion that the 2020 election outcome in any state has been

   altered through technical compromise.” They went on to note that, “Anyone asserting

   that a U.S. election was ‘rigged’ is making an extraordinary claim, one that must be

   supported by persuasive and verifiable evidence.” 15

           21.     On December 1, 2020, then U.S. Attorney General William Barr confirmed

   “to date, we have not seen fraud on a scale that could have effected a different outcome in

   the election.”16

           22.     As of this filing, claims of election fraud arising from the 2020 election have

   been rejected by at least 86 different judges across the country, including all nine




   14 Chris Krebs, Trump fired me for saying this, but I’ll say it again: The Election wasn’t rigged, WASH. POST

   (Dec. 1, 2020), https://www.washingtonpost.com/opinions/christopher-krebs-trump-election-wasnt-
   hacked/2020/12/01/88da94a0-340f-11eb-8d38-6aea1adb3839_story.html.
   15 Nicole Perlroth, Election Security Experts Contradict Trump’s Voting Claims, N.Y. TIMES
   (Nov. 16, 2020), https://www.nytimes.com/2020/11/16/business/election-security-letter-trump.html.
   16 Michael Balsamo, Disputing Trump, Barr says no widespread election fraud, AP (Dec. 1, 2020),
   https://apnews.com/article/barr-no-widespread-election-fraud-b1f1488796c9a98c4b1a9061a6c7f49d.




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Case No. 1:22-cv-01129-NYW-SKC Document 1-1 filed 05/05/22 USDC Colorado pg 12 of
                                     67




   Supreme Court Justices.17 Over 60 separate lawsuits brought by President Trump’s

   campaign and its supporters across the country attempting to challenge the legitimacy of

   the election results have failed.18 With these, courts have rejected baseless allegations of

   widespread voter fraud raised to overcome the election results.19 Notably in one case, the

   court in the United States District Court for the Middle District of Pennsylvania rendered

   an opinion stating:

           One might expect that when seeking [to disenfranchise almost seven million
           voters], a plaintiff would come formidably armed with compelling legal
           arguments and factual proof of rampant corruption, such that this Court
           would have no option but to regrettably grant the proposed injunctive relief
           despite the impact it would have on such a large group of citizens.

           That has not happened. Instead, this Court has been presented with
           strained legal arguments without merit and speculative accusations, unpled
           in the operative complaint and unsupported by evidence.

   Donald J. Trump for President, Inc., et al. v. Boockvar, et al., No. 4:20-cv-02078-

   MWB, at Dkt. No. 202, p.2 (M.D. PA. Nov. 21, 2020).                        In review of this opinion,

   Judge Bibas, writing the Third Circuit’s unanimous opinion on November 27, 2020,

   summarized the Court’s ruling as follows:


   17 Beth Reinhard et. al., As Giuliani coordinated plan for Trump electoral votes in states Biden won, some

   electors balked, WASH. POST (Jan. 20, 2022), https://www.washingtonpost.com/investigations/electors-
   giuliani-trump-electoral-college/2022/01/20/687e3698-7587-11ec-8b0a-bcfab800c430_story.html
   18 Rosalind S. Helderman, et al., ‘The last wall’: How dozens of judges across the political spectrum rejected

   Trump’s     efforts     to    overturn      the    election,  WASH.      POST      (Dec.    12,    2020),
   https://www.washingtonpost.com/politics/judges-trump-election-lawsuits/2020/12/12/e3a57224-3a72-
   11eb-98c4-25dc9f4987e8_story.html; William Cummings, et al., By the numbers: President Donald
   Trump’s failed efforts to overturn the election, USA TODAY (Jan. 6, 2021), https://www.usatoday.com/in-
   depth/news/politics/elections/2021/01/06/trumps-failed-efforts-overturn-election-
   numbers/4130307001/ (“Out of the 62 lawsuits filed challenging the presidential election, 61 have failed”).
   19 See e.g., Bowyer, et al., v. Ducey, et al., No. 2:20-cv-02321-DJH (D. Ariz.) at Dkt. No. 84, p. 28
   (concluding “[n]ot only have Plaintiffs failed to provide the Court with factual support for their
   extraordinary claims, but they have wholly failed to establish that they have standing for the Court to
   consider them. Allegations that find favor in the public sphere of gossip and innuendo cannot be a
   substitute for earnest pleadings and procedure in federal court.”).




                                                        12
Case No. 1:22-cv-01129-NYW-SKC Document 1-1 filed 05/05/22 USDC Colorado pg 13 of
                                     67




           Free, fair elections are the lifeblood of our democracy. Charges of
           unfairness are serious. But calling an election unfair does not make it so.
           Charges require specific allegations and then proof. We have neither here.

   Donald J. Trump for President, Inc., et. al. v. Sec’y Commonwealth of Pennsylvania,

   et. al., No. 20-3371, * 2 (3rd Cir. Nov. 27, 2020).

           23.     Courts have already acted against some of those most responsible for

   spreading post-election falsehoods, including those about Dr. Coomer. For example,

   Rudy Giuliani20 has had his license to practice law suspended in New York. The Attorney

   Grievance Committee there found that “there is uncontroverted evidence that respondent

   communicated demonstrably false and misleading statements to courts, lawmakers, and

   the public at large in his capacity as lawyer for former President Donald and the Trump

   Campaign.” It concluded that “[Giuliani’s] conduct immediately threatens the public

   interest and warrants interim suspension from the practice of law.” 21 Similarly, the

   United States District Court for the Eastern District of Michigan recently ordered

   sanctions against Sidney Powell,22 who had relied on Oltmann in making false allegations

   against Dr. Coomer in the complaint she filed in the Eastern District of Michigan.

   In ordering sanctions against Powell, the Court described the lawsuit as “a historic and

   profound abuse of the judicial process” and concluded that the “attorneys have scorned




   20 Rudy Giuliani is a defendant in a separate defamation lawsuit filed by Dr. Coomer on Dec. 22, 2020,

   Coomer v. Donald J. Trump for President, et. al., Denver District Court Case No. 2020CV34319.
   21 In re Matter of Giuliani, Supreme Court of the State of New York Appellate Division, Case No. 2021-

   00506, at 1, https://www.nycourts.gov/courts/ad1/calendar/List_Word/2021/06_Jun/24/PDF/Matter%
   20of%20Giuliani%20(2021-00506)%20PC.pdf.
   22 Sidney Powell and Sidney Powell P.C. are defendants in a separate defamation lawsuit filed by Dr. Coomer

   on Dec. 22, 2020, Coomer v. Donald J. Trump for President, et. al., Denver District Court Case
   No. 2020CV34319.




                                                       13
Case No. 1:22-cv-01129-NYW-SKC Document 1-1 filed 05/05/22 USDC Colorado pg 14 of
                                     67




   their oath, flouted the rules, and attempted to undermine the integrity of the judiciary

   along the way.”23 The Texas Bar Association has filed a disciplinary action against Powell

   related to her abuse of the judicial process in pursuing such baseless claims.24

          24.     Numerous investigations and subsequent audits have served to confirm the

   legitimacy of the election results and to reaffirm that President Biden was duly elected to

   office. The Republican-led Michigan Senate Oversight Committee, for example, issued a

   “Report on the November 2020 Election in Michigan” on June 23, 2021, wherein they

   examined various claims of voter fraud. The Committee found no basis for claims by

   former President Trump and his allies that there was widespread voter fraud in the

   2020 election.25 Similarly, a months-long Republican-led “full forensic audit” of election

   results in Maricopa County, Arizona, confirmed President Biden’s win, and in fact

   discovered that Biden had won by more votes than previously reported.26

          25.     Here in Colorado, multiple counties have spent taxpayer funds performing

   third-party audits of the 2020 election results, only to confirm that the election was free

   and fair and that the falsehoods being spread by Defendants and others are completely




   23   King v. Whitmer, Case No. 20-13134, (E.D. Mich. Aug. 25, 2021), https://storage.court
   listener.com/recap/gov.uscourts.mied.350905/gov.uscourts.mied.350905.172.0_3.pdf.
   24 David Lee, Texas Bar files disciplinary action against former Trump attorney, COURTHOUSE NEWS

   SERVICE, Mar. 8, 2022, https://www.courthousenews.com/texas-bar-files-disciplinary-action-against-
   former-trump-attorney/
   25 Clare Hendrickson and Dave Boucher, Michigan Republican-led investigation rejects Trump’s claim that

   Nov.      3   election   was     stolen,     DETROIT     FREE    PRESS     (June     23,     2021),
   https://www.freep.com/story/news/politics/elections/2021/06/23/michigan-senate-investigation-
   election-trump/5035244001/.
   26 David Schwartz and Nathan Layne, ‘Truth is truth’: Trump dealt blow as Republican-led Arizona audit

   reaffirms Biden win, REUTERS (Sept. 27, 2021), https://www.reuters.com/world/us/arizona-republicans-
   release-findings-widely-panned-election-audit-2021-09-24/.




                                                     14
Case No. 1:22-cv-01129-NYW-SKC Document 1-1 filed 05/05/22 USDC Colorado pg 15 of
                                     67




   without merit.27 Even Mesa County, home of Lindell-ally Tina Peters (as discussed more

   fully below) has recently conducted a third-party audit of its recent 2021 election results,

   which served to once again confirm the accuracy of Dominion voting machines.28

           26.     Dr. Coomer’s former employer, Dominion Voting Systems, also published a

   lengthy FAQ section on its website in the days following the 2020 presidential election,

   which systematically addressed and debunked the numerous conspiracy theories being

   directed at the Denver-based company and its employees. These thorough rebuttals were

   and remain easily accessible on Dominion’s website. 29

   B.      Oltmann fabricated a conspiracy.30

           27.     Defendants relied on Joe Oltmann, a Colorado conspiracy theorist and

   podcast host, as the sole source of their defamation against Dr. Coomer, who is also a

   Colorado resident. Oltmann is a political activist and supporter of former President




   27 See Anna Lynn Winfrey, Clear Ballot audit of 2020 election affirms accuracy of Dominion Voting

   Systems, MONTROSE PRESS (Jan. 19, 2022), https://www.montrosepress.com/news/clear-ballot-audit-of-
   2020-election-affirms-accuracy-of-dominion-voting-systems/article_0537bd16-78f2-11ec-b373-
   47ff0af51fce.html (describing $20,000 audit of Montrose County election results, and finding only an
   8-vote discrepancy in the entire county); Breanna Jent, Independent audit of El Paso County election
   results shows local voting system works: Clerk and Recorder, THE GAZETTE (May 18, 2021),
   https://gazette.com/news/independent-audit-of-el-paso-county-election-results-shows-local-voting-
   system-works-clerk-and/article_a175bdc8-b821-11eb-9797-279892a22c0c.html (finding a 0.002%
   discrepancy between the official 2020 results and the final tally, or a change of 13 out of roughly 383,000
   votes cast in El Paso County).
   28 Charles Ashby, Clear Ballot count of 2021 election verifies original results, THE DAILY SENTINEL
   (Feb. 17, 2022),         https://www.gjsentinel.com/news/western_colorado/clear-ballot-count-of-2021-
   election-verifies-original-results/article_d1b2c428-9024-11ec-89d8-1f944117f330.html
   29 See https://www.dominionvoting.com/setting-the-record-straight/ (last visited Dec. 21, 2021).

   30 Oltmann and his related entities, FEC United and Shuffling Madness Media, Inc. dba Conservative Daily

   are defendants in a separate defamation lawsuit filed by Dr. Coomer on Dec. 22, 2020, Coomer v. Donald
   J. Trump for President, et. al., Denver District Court Case No. 2020CV34319.




                                                       15
Case No. 1:22-cv-01129-NYW-SKC Document 1-1 filed 05/05/22 USDC Colorado pg 16 of
                                     67




   Trump with ambitions of creating a political movement.31 Oltmann formed a nonprofit

   organization, FEC United, allegedly to restore and secure constitutional protections he

   perceived as under attack, which includes a paramilitary civilian defense group.32 In the

   runup to the 2020 election, FEC United hosted rallies for armed civilians to gather, as

   well as political events on behalf of the Colorado Republican Party and the Trump

   Campaign.33 By way of example, FEC United reportedly solicited its members to sign up

   for the “Army for Trump” poll watcher program before the election, claiming that

   “Democrats have been actively stacking the poll-watching positions with their own

   people, and this will only contribute to the fraud . . . Join Our Election Day Team!”34

   Oltmann serves as a host of the Conservative Daily podcast with videos posted on

   Conservative Daily’s website, which are now also hosted by Frankspeech.

            28.    After the results of the election were called for President Biden, Oltmann

   co-hosted a Conservative Daily podcast on November 9, 2020, which served as the genesis


   31 See Joe Oltmann (@Joeoltmann), PARLER (Dec. 2, 2020) (In response to lawsuits brought by President

   Trump, “[w]e do this without the weak ass Republican traitors.”); (Dec. 4, 2020) (“It’s time we turn out the
   corrupt government and weaponized media and tech companies. This is our country . . . #reckoning
   #ericcoomerisatraitor #dominionvotingsystems); (Dec. 6, 2020) (“I will love my neighbors after I beat their
   ass and stop this evil indoctrination and cancer on our community . . . I punched one of these asshats in the
   face and defended our country”); (Dec. 7, 2020) (“I am angry we are where we are and we allowed the loony
   left to even get their claws of deceit and despair into the fiber of our country. I am disappointed we let the
   evil left remove God from our schools and communities without a bigger fight . . . Pray for our country. Pray
   for our President. Pray for our leaders that they can have courage. Pray for the warriors of our nation that
   will stand up for you. God bless you all. We will not surrender and we will never retreat.”); (Dec. 10, 2020)
   (“Pray for our country and that our Supreme Court has the courage to reject the evil we face.”); (Dec. 12,
   2020) (“Now we got to war as the people . . . the deep state runs deep. Evil at work . . .”).
   32 See FEC United, Defend the American Way of Life, https://fecunited.com (last visited Nov. 12, 2021);

   United American Defense Fund, Defend and Protect What Is Ours, https://fecunited.com/uadf/
   (last visited Nov. 12, 2021).
   33 See Erik Maulbetsch, Conservative Group Behind the Deadly “Patriot Muster” Rally Working Closely

   With Colorado GOP, COLO. TIMES RECORDER (Oct. 12, 2020), https://coloradotimesrecorder.com/2020/1
   0/conservative-group-behind-deadly-patriot-muster-rally-working-closely-with-colorado-gop/31445/.
   34 See id.




                                                        16
Case No. 1:22-cv-01129-NYW-SKC Document 1-1 filed 05/05/22 USDC Colorado pg 17 of
                                     67




   for his false claims about Dr. Coomer.35 On that podcast, he alleged to have learned

   almost two months earlier of a conspiracy to elect the president of the United States.

   Oltmann claimed he gained this information after infiltrating Antifa. Despite his interest

   in the election and prolific podcasting schedule, Oltmann apparently took no action at

   that time to report this alleged threat to democracy.36 Oltmann began this podcast,

   saying:

          Let’s not sugar coat this, we’re going to expose someone inside of Dominion
          Voting Systems specifically related to Antifa and related to someone that is
          so far left and is controlling the elections, and his fingerprints are in every
          state. So, I want you guys to understand that what we’re about to show you,
          you have to share . . . The conversation will be about a man named Eric
          Coomer. C-O-O-M-E-R.

   Oltmann then posted a photo of Dr. Coomer’s face. Oltmann explained he had allegedly

   “infiltrated an Antifa conference call” sometime in late September with unknown and

   unverified participants. Oltmann claimed while on this purported call one of these

   unknown participants was referred to as “Eric” and another allegedly explained “Eric is

   the Dominion guy.” Oltmann claimed when another unknown participant asked, “What

   are we gonna do if f-ing Trump wins?” the unknown “Eric” responded, which Oltmann

   paraphrased as, “Don’t worry about the election, Trump is not gonna win. I made f-ing

   sure of that. Hahahaha.” Afterward, Oltmann’s alleged efforts to identify the unknown

   speakers of this purported call were limited to Googling “Eric,” “Dominion,” and




   35 Joe Oltmann, et al., Ep. 196—Dominion Voting Systems, CONSERVATIVE DAILY PODCAST (Nov. 9, 2020).

   36 The Conservative Daily podcast posted fifty podcasts from September 1, 2020 to November 9, 2020.

   See id.; see also Joseph Oltmann, et al., Ep. 146—Someone Stole My Trump Sign (And I’m Pissed),
   CONSERVATIVE DAILY PODCAST (Sept. 1, 2020).




                                                   17
Case No. 1:22-cv-01129-NYW-SKC Document 1-1 filed 05/05/22 USDC Colorado pg 18 of
                                     67




   “Denver, Colorado.”37         With this, Oltmann claimed he identified Dr. Coomer and

   Dominion Voting Systems, Inc.38               In reality, however, Oltmann actually fabricated

   evidence of his supposed Google search on November 11, 2020, two days after his initial

   claims about Dr. Coomer, by deliberately altering a screenshot image to suggest the

   search had occurred in late September.39 Unsurprisingly, at no point has Oltmann

   contacted Dr. Coomer to confirm his involvement in this purported call.

           29.     Only after President Trump had lost the presidential election did Oltmann

   claim to remember Dr. Coomer and take steps to target him. Oltmann had conceived a

   storyline about the election—that its results were fraudulent—and consciously set out to

   establish that Dr. Coomer perpetuated this fraud.40 This included accessing Dr. Coomer’s


   37 In a subsequent interview, Oltmann explained, “So it was really simple.
                                                                            This is what I did, right. I put in
   ‘Eric,’ into Google search, ‘Eric,’ ‘Dominion,’ ‘Denver, Colorado.’ Not very clever, right?” See Michelle
   Malkin, #MalkinLive: U.S. Elections, YOUTUBE (Nov. 13, 2020).
   38 Oltmann provides no explanation for how he understood “Dominion” to mean “Dominion Voting
   Systems, Inc.” and not any of the number of other Dominion-named businesses and locations in Colorado,
   including, but not limited to: Old Dominion Freight Line; Dominion Life Church; Dominion Realty Group;
   Dominion Water & Sanitation District; either of the two Dominion Towers constituting Dominion Plaza;
   Dominion Mortgage; and Dominion Carpet Cleaning Inc.
   39 In related case, Case No. 2020CV34319, Oltmann did not respond to a motion highlighting the fabrication

   for the Court and noting Oltmann’s multiple and implausible explanations for how the document in
   question was altered. The Court has since ordered Oltmann to preserve and disclose all devices (and
   corresponding serial numbers) on which he conducted supposed “research” on Dr. Coomer. As of this filing,
   Oltmann has still not complied with the February 14, 2022 Order.
   40 Oltmann has a history of advancing varying allegations of voter fraud to support his political beliefs and

   his preferred candidates as well as to promote himself and his businesses interests. See e.g.,
   Erik Maulbetsch, Conservative Group Behind the Deadly “Patriot Muster” Rally Working Closely With
   Colorado GOP, COLO. TIMES RECORDER (Oct. 12, 2020) (FEC United alleging election fraud); Joe Oltmann,
   et al., Ep. 151–Voter Fraud is Real, CONSERVATIVE DAILY PODCAST (Sept. 9, 2020) (separate allegations of
   election fraud); Ep. 126–GOP Caving to Pelosi’s Cheat-By-Mail Demands, CONSERVATIVE DAILY PODCAST
   (Aug. 5, 2020) (separate allegations of election fraud). Shortly after the election, Oltmann’s baseless
   allegations of fraud continued to evolve across various theories until coalescing into his false statements
   against Dr. Coomer. Compare Joe Oltmann, et al., Ep. 193–Democrats Just Got Caught, CONSERVATIVE
   DAILY PODCAST (Nov. 5, 2020) (separate allegations of election fraud), Ep. 194–How Democrats Stole It,
   CONSERVATIVE DAILY PODCAST (Nov. 6, 2020) (separate allegations of election fraud), and Ep. 194–How
   Democrats Stole It (Part 2), CONSERVATIVE DAILY PODCAST (Nov. 6, 2020) (separate allegations of election




                                                        18
Case No. 1:22-cv-01129-NYW-SKC Document 1-1 filed 05/05/22 USDC Colorado pg 19 of
                                     67




   private Facebook profile. Despite no credible evidence of Dr. Coomer’s involvement in

   the purported “Antifa Conference Call” (or Zoom meeting), Oltmann used posts on

   Dr. Coomer’s Facebook profile that were critical of President Trump to allege he was the

   anonymous “Eric.” Oltmann also used Dr. Coomer’s position and employment with

   Dominion to allege Dr. Coomer was a key figure in a high-level conspiracy to rig the

   election against President Trump.41 These statements are baseless and unequivocally

   false. Dr. Coomer has no knowledge of this alleged Antifa conference call; Dr. Coomer

   did not participate in such an alleged call; Dr. Coomer did not make the comments

   Oltmann alleged were made; and Dr. Coomer did not take steps to subvert the results of

   the presidential election.

           30.      In reality, Dr. Coomer, like many, had a private Facebook page that he

   shared with approximately 300 friends. He shared political views and was critical of

   President Trump. He reposted satire that Oltmann intentionally disregarded and held

   out as true. None of it was public. It remains unclear how Oltmann obtained possession




   fraud), with Ep.196–Dominion Voting Systems, CONSERVATIVE DAILY PODCAST (Nov. 9, 2020) (“we’re doing
   a deep dive on Dominion Voting Systems, all the stuff we’re seeing with Scorecard, with Hammer, big tech
   as a whole.”). Oltmann ultimately utilized these false allegations for personal gain. On November 5, 2020,
   the Conservative Daily podcast informed its viewers it was the “#119 most popular political podcast in
   America,” on November 6, 2020 it informed them it was then the “#108 most popular political podcast,”
   on November 9, 2020 it was “#66,” on November 10, 2020 it was “#62,” November 14, 2020 it was “#53,”
   on November 19, 2020 it was “#28,” on December 2, 2020 it was “#8.”
   41 See Joe Oltmann, Dominion, Big Tech, and How They Stole It, CONSERVATIVE DAILY PODCAST
   (Nov. 9, 2020) (“It’s not admitting it’s vulnerable, it’s actually creating the vulnerability so that it can
   actually be manipulated, and that’s what’s happened here, Max. That’s what’s happened here. You have a
   guy that literally is a fanatic. He’s on calls, he’s taking time in the middle of an election season to get on a
   call. Three weeks before an election. Three weeks before the election! He’s getting on the phone and he’s
   saying very clearly that ‘I have it handled.’ And he runs product strategy and security. We’re not talking
   about someone that is at a low level, that has an opportunity to just - He’s in everywhere you look!”).




                                                         19
Case No. 1:22-cv-01129-NYW-SKC Document 1-1 filed 05/05/22 USDC Colorado pg 20 of
                                     67




   of it as he has refused to disclose his source despite a court order to do so, and despite

   having been sanctioned for not doing so.42

           31.     More importantly, Dr. Coomer’s professional life was separate from his

   personal political opinion. Dr. Coomer did not participate in political groups and did not

   donate to campaigns.            Dr. Coomer worked with elections officials—Republican,

   Democratic, and independent—across the country to make sure the process was safe,

   secure, and fair. The ability to have a political opinion in this country is a protected right.

   It remains a protected right, even if critical of a sitting president. That criticism does not

   denote conspiracy or fraud.

   C.      Oltmann spreads the conspiracy theory.

           32.     Oltmann      began    spreading      his   baseless    allegations.43     Throughout

   November 2020, Oltmann did numerous interviews with various conservative pundits,

   media personalities, and elected officials. For example, on November 13, 2020, Oltmann

   did an interview with Michelle Malkin44 on her livestream #MalkinLive, where he

   repeated his false allegations that Dr. Coomer had participated in an Antifa conference

   call, that he claimed on that call that he had rigged the election, and that he did in fact rig

   the election. Oltmann claimed that “the treason is punishable by death” and encouraged

   Dr. Coomer to turn himself in to the Department of Justice. He went on to give interviews



   42 See Coomer v. Donald J. Trump for President, et. al., Denver District Court Case No. 2020CV34319,

   Sanctions Order Against Oltmann and Counsel, (Mar. 22, 2022).
   43 On December 6, 2020 alone, Oltmann claimed he had “been busy doing 15 interviews in the last 2 days.”

   See Joe Oltmann (@Joeoltmann), PARLER (Dec. 6, 2020).
   44 Michelle Malkin is a defendant in a separate defamation lawsuit filed by Dr. Coomer on Dec. 22, 2020,

   Coomer v. Donald J. Trump for President, et. al., Denver District Court Case No. 2020CV34319.




                                                     20
Case No. 1:22-cv-01129-NYW-SKC Document 1-1 filed 05/05/22 USDC Colorado pg 21 of
                                     67




   to James Hoft45 of the right-wing blog The Gateway Pundit,46 Chanel Rion47 of

   One America News Network (OAN),48 nationally syndicated radio host Eric Metaxas,49

   and on Michelle Malkin’s Newsmax50 program “Sovereign Nation.” At the same time,

   Oltmann was appearing regularly as a guest on various Denver-based talk radio shows,

   including     Colorado      Republican       National      Committeeman          Randy      Corporon’s51

   Denver-based radio program Wake Up! with Randy Corporon on 710 KNUS.52




   45 James Hoft is a defendant in a separate defamation lawsuit filed by Dr. Coomer on Dec. 22, 2020, Coomer

   v. Donald J. Trump for President, et. al., Denver District Court Case No. 2020CV34319.
   46 TGP Communications LLC dba The Gateway Pundit is a defendant in a separate defamation lawsuit filed

   by Dr. Coomer on Dec. 22, 2020, Coomer v. Donald J. Trump for President, et. al., Denver District Court
   Case No. 2020CV34319.
   47 Chanel Rion is a defendant in a separate defamation lawsuit filed by Dr. Coomer on Dec. 22, 2020,

   Coomer v. Donald J. Trump for President, et. al., Denver District Court Case No. 2020CV34319.
   48 Herring Networks Inc. dba One America News Network is a defendant in a separate defamation lawsuit

   filed by Dr. Coomer on Dec. 22, 2020, Coomer v. Donald J. Trump for President, et. al., Denver District
   Court Case No. 2020CV34319.
   49 Eric Metaxas is a defendant in a separate defamation lawsuit filed by Dr. Coomer on Dec. 22, 2020,

   Coomer v. Donald J. Trump for President, et. al., Denver District Court Case No. 2020CV34319.
   50 Newsmax was a defendant in a separate defamation lawsuit filed by Dr. Coomer on Dec. 22, 2020,

   Coomer v. Donald J. Trump for President, et. al., Denver District Court Case No. 2020CV34319. Newsmax
   settled and issued a public apology to Dr. Coomer and a retraction of its coverage of Oltmann’s false claims
   on April 30, 2021, and was dismissed from this lawsuit.
   51 Randy Corporon is a defendant in a separate defamation lawsuit filed by Dr. Coomer on Nov. 13, 2021,

   Coomer v. Salem Media of Colorado Inc., et. al., Denver District Court Case No. 2021CV33632.
   52 Salem Media of Colorado, Inc., owns 710 KNUS and is a defendant in a separate defamation lawsuit filed

   by Dr. Coomer on Nov. 13, 2021, Coomer v. Salem Media of Colorado Inc., et. al., Denver District Court
   Case No. 2021CV33632.




                                                       21
Case No. 1:22-cv-01129-NYW-SKC Document 1-1 filed 05/05/22 USDC Colorado pg 22 of
                                     67




           33.     Oltmann was also promoting his false claims about Dr. Coomer to former

   President Trump’s53 legal team, including Rudy Giuliani54 and Sidney Powell.55 Both

   Giuliani and Powell would go on to specifically name Dr. Coomer during a November 19,

   2020 press conference, where they repeated Oltmann’s false claims about Dr. Coomer,

   alongside other bizarre and false assertions about the election.

           34.     Throughout this time, Oltmann continued to grow more extreme in his

   rhetoric      and   conduct.       He    began     discussing     Dr. Coomer       on    his   podcast,

   “Conservative Daily,” on an almost daily basis. On November 16, 2020, he described

   calling Dr. Coomer’s friends and threatening them with doxing and harassment if they

   did    not      provide     him      with     harmful       information       about      Dr. Coomer.56

   On December 5, 2020, he posted a photo of Dr. Coomer’s house to his thousands of social

   media followers, stating, “Blow this shit up. Share, put his name everywhere. No rest for

   this shitbag. Eric Coomer, Eric Coomer, Eric Coomer. This shitbag and the corrupt

   asshats in Dominion Voting Systems must not steal our election and our country! Eric we

   are watching you . . . .”57 On December 14, 2020, he admitted to having Dr. Coomer



   53 Donald J. Trump for President, Inc. is a defendant in a separate defamation lawsuit filed by Dr. Coomer

   on Dec. 22, 2020, Coomer v. Donald J. Trump for President, et. al., Denver District Court Case
   No. 2020CV34319.
   54 Rudy Giuliani is a defendant in a separate defamation lawsuit filed by Dr. Coomer on Dec. 22, 2020,

   Coomer v. Donald J. Trump for President, et. al., Denver District Court Case No. 2020CV34319.
   55 Sidney Powell and her related entities, Sidney Powell, P.C. and Defending the Republic, Inc., are all

   defendants in a separate defamation lawsuit filed by Dr. Coomer on Dec. 22, 2020, Coomer v. Donald J.
   Trump for President, et. al., Denver District Court Case No. 2020CV34319.
   56 See Jim Hoft, Denver Business Owner: Dominion’s Eric Coomer is an Unhinged Sociopath – His
   Internet Profile is Being Deleted and Erased (AUDIO), THE GATEWAY PUNDIT (Nov. 16, 2020) (Audio
   interview wherein Oltmann claimed he called Dr. Coomer’s friend and threatened that he would “be the
   next person that [Oltmann] put[s] on Twitter” if he hung up the phone.)
   57 See Joe Oltmann (@Joeoltmann), PARLER (Dec. 6, 2020)




                                                      22
Case No. 1:22-cv-01129-NYW-SKC Document 1-1 filed 05/05/22 USDC Colorado pg 23 of
                                     67




   surveilled, claiming that he had people watching Dr. Coomer’s every move and following

   him everywhere he went.58

            35.    Oltmann’s response to the continuing erosion of his credibility and the

   increasing costs of litigating his baseless defense has been to become increasingly volatile

   and belligerent. In addition to repeatedly asserting that Dr. Coomer can and should be

   put to death for treason, Oltmann has also called for his perceived enemies to be hanged

   “two inches off the ground, so they choke to death.”59 He has called for mass executions

   of his political opponents, who he deems “traitors” to the country, including Colorado

   Governor Jared Polis and many U.S. Senators.60 On his Conservative Daily podcast on

   December 3, 2021, for example, his former co-host Max McGuire read aloud the names

   of 19 Senate Republicans who had voted with Democrats to approve an 11-week stopgap

   spending bill. “There’s your list of 19 traitors to the American people, along with all the

   other traitors to the American people,” Oltmann said. “I want people to go out there and

   get some wood. The gallows are getting longer and longer. We should be able to build

   gallows all the way from Washington, D.C. to California.”61 Later in the show, Oltmann

   mentioned something he claimed to have posted online calling Governor Polis a liar and



   58 See Joe Oltmann, Dominion Audit Proves Fraud!, CONSERVATIVE DAILY PODCAST (Dec. 14, 2020)
   (Oltmann: “He should never be allowed to leave his house, at all, without everybody knowing who he is,
   where he is. I have people in Salida that literally are following him around and saying alright, Joe. Here’s
   where he’s at next. Here’s where he’s at next. I found him. He’s staying in this basement, up here. Oh, he’s
   at his house now.”)
   59 See Chase Woodruff, ‘Stretch that rope’: Colorado Conservative leader suggests Gov. Polis should be

   hanged, COLORADO NEWSLINE (Dec. 3, 2021), https://coloradonewsline.com/2021/12/03/stretch-that-
   rope-colorado-conservative-leader-suggests-gov-polis-should-be-hanged/ (last visited Dec. 21, 2021);
   see also Joe Oltmann, McConnell Stabbed You In The Back, CONSERVATIVE DAILY PODCAST (Dec. 3, 2021).
   60 Id.

   61 Id.




                                                       23
Case No. 1:22-cv-01129-NYW-SKC Document 1-1 filed 05/05/22 USDC Colorado pg 24 of
                                     67




   a traitor. “So that’s what I sent to Governor Polis,” he said. “Gallows. I had to stretch

   that rope.”62 In another of many similar instances, on December 13, 2021, Oltmann

   referred to “the left” as “the trash that frankly we should drag behind our car until body

   parts fall off.”63 More recently, Oltmann has appeared alongside Lindell allies Tina Peters

   and Shawn Smith at a meeting of Oltmann’s right-wing extremist group, FEC United.

   Once again, the speakers issued direct calls to political violence, this time also including

   Colorado Secretary of State Jena Griswold.64 Smith, for example, introduced himself by

   saying, “You may know me as the number one most dangerous election denier in

   Colorado.” Referring to Griswold, Smith stated, “You know, if you’re involved in election

   fraud, then you deserve to hang.”

            36.    Many of Oltmann’s own former allies in the election fraud conspiracy theory

   movement have grown concerned with his constant calls for violence, and Oltmann has

   publicly lashed out at them in response. For example, former CEO of Overstock.com,

   Patrick Byrne,65 recently stated:


   62 Id.

   63 See Joe Oltmann, Arrested for Standing Outside the Capitol!, Conservative Daily Podcast (Dec. 13, 2021)

   (Oltmann: “When I say the evil are everything they say they’re fighting against, when they are the
   pedophiles, the rapists, the closet racists, when they are the disgusting part about our society. When they
   lie all the time, when they can’t tell the truth, and I’m putting emphasis on this. When they are the trash
   that frankly we should drag behind our car until body parts fall off.”)
   64 Marshall Zelinger, Colorado group with militia wing hosts town hall with Who’s Who of election
   conspiracy theorists, 9NEWS (Feb. 11, 2022), https://www.9news.com/article/news/local/next/colorado-
   group-militia-wing-town-hall-election-conspiracy-theorists-fec-united-tina-peters/73-fddb213a-7c47-
   47cd-964d-f895746e6753
   65 Patrick Byrne is a close ally of Sidney Powell and Michael Flynn, and famously snuck into the White

   House on December 18, 2020 in an effort to convince former President Trump to appoint Sidney Powell as
   a special counsel to investigate election fraud claims and seize Dominion Voting Machines. See Luke
   Broadwater, et. al., Jan. 6 Panel Examining Trump’s Role in Proposals to Seize Voting Machines, NEW
   YORK TIMES (Feb. 1, 2022), https://www.nytimes.com/2022/02/01/us/jan-6-panel-trump-voting-
   machines.html. Byrne also produced a “documentary” in June of 2021 titled “The Deep Rig” which alleges




                                                      24
Case No. 1:22-cv-01129-NYW-SKC Document 1-1 filed 05/05/22 USDC Colorado pg 25 of
                                     67




           I’m just telling you, there’s not a conversation that guy has been around
           where he’s in the six months I’ve seen, or nine months, where he’s not
           looking for the opportunity to try to draw people into, “So, what I want to
           know is when are we going to do what needs to be done? When are we going
           to take care of business? When are the bullets going to start flying?”
           Joe Oltmann, every conversation that he’s ever in, that’s what he’s trying to
           get people to talk about.66

           37.     Similarly, former Oltmann ally Jovan Pulitzer67 stated on January 7, 2022,

   that “Joe has positioned many times to lead this effort and to have people gather their

   weapons and get in the streets. I and many others do not think that is wise—such would

   allow the government to repeal the 2nd Amendment and fight other ways.”

           38.     Defendants’ knowing reliance on and re-publication of Oltmann’s

   defamation of Dr. Coomer—despite Oltmann’s well-publicized calls to violence, including



   a vast conspiracy to rig the election and prominently features Oltmann’s claims about Dr. Coomer. In
   response to Byrne’s video statement that Oltmann is constantly calling for violence, Oltmann angrily denied
   issuing calls to violence and stated that he was sitting across the table from Rudy Giuliani in the Willard
   Hotel during the insurrection on January 6, 2021, when Byrne entered the room to ask Giuliani to arrange
   a pardon for him. According to Oltmann, Byrne claimed that he could go to prison for “a thousand years”
   for what he had done if he did not receive a presidential pardon. See Joe Oltmann, GOPers Covering Up
   Election Fraud, CONSERVATIVE DAILY PODCAST (Feb. 3, 2022), at 52:35 https://conservative-daily.com/cd-
   livestream/gopers-covering-up-election-fraud
   66  See video of these statements at @J1Ilove,                TWITTER     (Feb.   3,   2020   3:46    PM),
   https://twitter.com/J1llove/status/1489369640052658185
   67 Jovan Hutton Pulitzer (formerly known as Jeffrey Philyaw) is a former treasure hunter, see The Curse of

   Oak Island: Pultizer Reveals Theory (S2, E3) History, YOUTUBE (Nov. 19, 2014),
   https://www.youtube.com/watch?v=qdKM8oKAnpo (arguing in a History Channel special that the Arc of
   the Covenant was taken from the Middle East to Nova Scotia by ship in roughly 500 B.C.) and failed
   inventor, see also Jerod MacDonald-Evoy, Audit using unproven technology developed by ‘failed inventor’
   Jovan Pulitzer, ARIZONA MIRROR (Apr. 30, 2021), https://www.azmirror.com/2021/04/30/audit-using-
   unproven-technology-developed-by-failed-inventor-jovan-pulitzer/, who became involved with the
   election fraud conspiracy movement in December, 2020, when he falsely claimed to the Georgia legislature
   that he had hacked into a Dominion voting machine in real time, see also Brooke Conrad, Georgia Secretary
   of State blasts lawmakers over hearing witness, KATV NEWS (Jan. 1, 2021),
   https://katv.com/news/nation-world/georgia-secretary-of-state-blasts-lawmakers-over-hearing-witness.
   Pulitzer co-starred with Oltmann in Byrne’s “documentary” titled “The Deep Rig,” but the two had a falling
   out after Oltmann falsely claimed that they had both been victims of an anthrax attack at a Covid-19 denial
   conference. See Zachary Petrizzo, Far-Right Group Fantasizes They’ve Been Attacked With Anthrax,
   THE DAILY BEAST (Dec. 22, 2021), https://www.thedailybeast.com/far-right-stars-joe-oltmann-jovan-
   pulitzer-fantasize-theyve-been-attacked-with-anthrax.




                                                      25
Case No. 1:22-cv-01129-NYW-SKC Document 1-1 filed 05/05/22 USDC Colorado pg 26 of
                                     67




   calls for the murder of political opponents and assurances that he intends to incite actual

   violence—have only heightened the harm Defendants have caused Dr. Coomer, who

   continues to endure the burden of being the target of such threats.

   D.      Defendants’ have a history of promoting false claims of election
           fraud.

           39.     Lindell is a long-time supporter of former President Trump, who endorsed

   Lindell’s company, MyPillow, on live national television from the White House on July 19,

   2017.68 Since that time, MyPillow has become prominent advertisers on conservative and

   right-wing media platforms, including Fox News,69 Newsmax,70 and One America News

   Network (OAN).71 As of December 22, 2021, Lindell has claimed to have spent at least

   $25 million of his own money spreading election fraud disinformation and

   misinformation across the country.72

           40.     Lindell and MyPillow began promoting a variety of claims that the

   November 2020 election had been rigged against former President Trump very shortly


   68 Fox Business Network, My Pillow gets endorsement from President Trump, YOUTUBE (July 20, 2017),

   https://www.youtube.com/watch?v=tSv_cGUhHOI
   69 See Haley Victory Smith, Thirty-eight percent of Tucker Carlson’s advertising came from My Pillow in

   2020,     data     firm      estimates,   WASHINGTON       EXAMINER        (July     7,      2020),
   https://www.washingtonexaminer.com/news/thirty-eight-percent-of-tucker-carlsons-advertising-came-
   from-mypillow-in-2020-data-firm-estimates
   70 See Tiffany Hsu, As Corporate America Flees Trump, My Pillow’s CEO Stands by Him, NEW YORK TIMES

   (Jan.    12,   2021),     https://www.nytimes.com/2021/01/12/business/media/mypillow-mike-lindell-
   trump.html (noting that MyPillow spent tens of thousands of dollars advertising with Newsmax in a single
   week following the insurrection).
   71 See Derek Blaine, Trump Fans May Be Abandoning Right Wing Niche News Networks, FORBES
   (Jan. 18, 2022),            https://www.forbes.com/sites/derekbaine/2022/01/18/trump-fans-may-be-
   abandoning-right-wing-niche-news-networks/?sh=66af84446f48 (noting that much of OAN’s $16 million
   in ad revenue in 2020 came from infomercials purchased by MyPillow).
   72 Amy Gardner et. al., Inside the nonstop pressure campaign by Trump allies to get election officials to

   revisit the 2020 vote, WASH. POST (Dec. 22, 2021), https://www.washingtonpost.com/politics/trump-
   election-officials-pressure-campaign/2021/12/22/8a0b0788-5d26-11ec-ae5b-5002292337c7_story.html




                                                     26
Case No. 1:22-cv-01129-NYW-SKC Document 1-1 filed 05/05/22 USDC Colorado pg 27 of
                                     67




   after the election was called for President Biden.                For example, starting in late

   November 2020, Lindell and MyPillow sponsored the “Women for America First” bus

   tour, which traveled around the country in a bus emblazoned with the MyPillow logo

   promoting baseless conspiracies regarding the election. Lindell regularly spoke at these

   MyPillow sponsored events, where he frequently targeted Dr. Coomer’s former employer,

   Dominion Voting Systems. For example, at an event in Des Moines, Iowa, on December 6,

   2020, Lindell falsely claimed that “Donald Trump got so many votes that they didn’t

   expect that but it broke the algorithms in those machines.” 73                    A week later, on

   December 10, 2020, in Pittsburgh, Pennsylvania, Lindell gave another tour speech where

   he again referred to “crooked Dominion machines.” 74




            41.    Throughout this timeframe, Lindell and MyPillow were on notice that

   Lindell’s claims were false. Multiple authorities from within the Trump administration

   itself had publicly confirmed that the election results were legitimate. On December 23,



   73 Craig Silverman, et. al., How “The Women for America First” Bus Tour Led To The Capitol Coup Attempt,

   BUZZFEED NEWS (Jan. 26, 2021), https://www.buzzfeednews.com/article/craigsilverman/maga-bus-tour-
   coup
   74 Id.




                                                     27
Case No. 1:22-cv-01129-NYW-SKC Document 1-1 filed 05/05/22 USDC Colorado pg 28 of
                                     67




   2020, Dominion Voting Systems even sent a demand letter to Lindell, laying out the

   reasons that his claims were baseless and insisting that he cease and desist in his efforts

   to continue spreading lies.75

            42.       On January 6, 2021, supporters of former President Trump launched a

   violent attack on the U.S. Capitol in an attempt to stop the counting of electoral votes and

   prevent the peaceful transfer of power to President Biden. During the attack, Lindell

   posted a video to Facebook Live where he denied the events unfolding on live television.

   “The riots you are seeing on TV,” he said, “That’s a joke . . . Don’t believe what you are

   seeing on the news . . . there was some early stuff on with Antifa. I think they were

   plants.”76 At the same time, and throughout the attack on the Capitol, MyPillow was

   offering discounts to people who used the promo code “FightForTrump” at checkout. 77

            43.       On January 8, 2021, Dominion Voting Systems sent another cease and

   desist to Lindell, again putting him on notice of specific, detailed information disproving

   his various unsubstantiated claims and outright falsehoods about Dominion Voting

   Systems.78

            44.       Rather than distance themselves from such allegations in the aftermath of

   the attack, Lindell and MyPillow instead doubled down on their efforts to manufacture

   evidence, or promote manufactured evidence provided to them by others, of their


   75 See U.S. Dominion, Inc., et. al. v. My Pillow, Inc., et. al., Case No. 1:21-cv-00445 (D.C. Dist. Ct.) filed

   Feb. 22, 2021, Complaint and Demand for Jury Trial, at ¶ 63.
   76 Id., at ¶ 66.

   77 Tiffany Hsu, As Corporate America Flees Trump, MyPillow C.E.O. Stands by Him, N.Y. TIMES (Jan. 12,

   2021), https://www.nytimes.com/2021/01/12/business/media/mypillow-mike-lindell-trump.html
   78 See U.S. Dominion, Inc., et. al. v. My Pillow, Inc., et. al., Case No. 1:21-cv-00445 (D.C. Dist. Ct.) filed

   Feb. 22, 2021, Complaint and Demand for Jury Trial, at ¶ 69.




                                                        28
Case No. 1:22-cv-01129-NYW-SKC Document 1-1 filed 05/05/22 USDC Colorado pg 29 of
                                     67




   preconceived narrative that the 2020 election results were not legitimate. These efforts

   included attempts to influence former President Trump personally, as well as close

   coordination with others who had publicly defamed Dr. Coomer.                             For example, on

   January 15, 2021, Lindell was photographed outside the White House awaiting an

   interview with the president. The photograph showed portions of a document Lindell was

   holding, which read in part, “Insurrection Act now as result of the assault on the” and

   “martial law if necessary.”79 Just three days later, on January 18, 2021, Lindell claimed

   that he was speaking with Sidney Powell at least twice a day.80

           45.      On February 22, 2021, Dominion Voting Systems sued Lindell and

   MyPillow, alleging claims for defamation per se and deceptive trade practices, and seeking

   damages in the amount of $1.3 billion.81 The heavily footnoted 115-page complaint laid

   out in painstaking detail the numerous ways in which Defendants’ claims of election fraud

   were unsupported and had in fact been proven false on numerous instances.

           46.      Despite having been repeatedly put on notice regarding the baselessness of

   their claims of election fraud, Defendants were undeterred. In their ongoing efforts to

   sustain their false claims that the election was rigged, Defendants eventually crossed

   paths with Oltmann, who had similarly persisted in knowingly and recklessly spreading

   lies regarding the election and having already been sued for defamation. On March 11,



   79Martin Pengelly, Trump ally Mike Lindell of MyPillow pushes martial law at White House,
   THE GUARDIAN (Jan. 15, 2021), https://www.theguardian.com/us-news/2021/jan/15/mike-lindell-
   mypillow-trump-white-house-martial-law
   80 RSBN’s Exclusive with Mike Lindell, Part 2, at 15:54 (Jan. 18, 2021), https://rumble.com/vczx1t-rsbn-

   exclusive-interview-with-mike-lindell-part-2.html
   81 U.S. Dominion Inc., et. al. v. My Pillow Inc., et. al., Case No. 1:21-cv-00445 (Dist. Ct. D.C.).




                                                         29
Case No. 1:22-cv-01129-NYW-SKC Document 1-1 filed 05/05/22 USDC Colorado pg 30 of
                                     67




   2021, Lindell appeared as a guest on Oltmann’s podcast “Conservative Daily” 82 which is

   recorded in Colorado and published online. Oltmann’s former co-host Max McGuire

   started the episode by saying, “We have a special treat for everyone today, an episode that

   everyone has been really hoping for. We are joined today by Mr. Mike Lindell, the CEO

   of MyPillow, affectionately known as the MyPillow guy.” Oltmann confirmed the basis

   for his relationship with Defendants, stating, “I got involved in this entire election

   integrity issue, as you know, based on Eric Coomer. So, I got sued by Eric Coomer, and I

   happened to be on that call, that Dominion call. And that led me down a path, where as

   soon as they started attacking me, I jumped head first into it.” As the interview proceeded,

   Lindell sought customers for MyPillow, informing Conservative Daily listeners that they

   could use the podcast’s unique promotional code “CD21” to get discounts on MyPillow

   products.      Oltmann concluded the interview by promising to promote Defendants’

   forthcoming social media platform, Frankspeech, stating, “We will be a tireless advocate

   for MyPillow. We’ll be a tireless advocate for what we’re doing on the election integrity

   issue, or side, and we will make sure people know about the platform. We’ll be moving

   over to the platform ourselves. And we will make sure that we support you 100%.”83

            47.    In the following weeks, Defendants’ plans to create a social media platform

   where users could allegedly speak freely without fear of consequence from the platform

   itself began to take shape. In a March 30, 2021 interview with Eric Metaxas,84 Lindell


   82 Joe Oltmann, Mike Lindell (The MyPillow Guy), CONSERVATIVE DAILY PODCAST (Mar. 11, 2021).

   83 Id.

   84 Eric Metaxas is also a defendant in Coomer v. Donald J. Trump for President, et. al., where Dr. Coomer

   has alleged claims for defamation, intentional infliction of emotional distress, civil conspiracy, and for
   injunctive relief arising from a prior defamatory interview published by Metaxas.




                                                      30
Case No. 1:22-cv-01129-NYW-SKC Document 1-1 filed 05/05/22 USDC Colorado pg 31 of
                                     67




   explained that the new platform frankspeech.com, would be up and running within two

   weeks.85 Lindell explained the new platform as follows:

            There’s nothing like it out there. I will tell you that. Nothing like it. Imagine
            a YouTube, and then your YouTube is a mini Twitter. And it’s just amazing.
            People are talking about, you’re basically, it’s our free speech. It’s going to
            be everybody. All of your newscasters, your podcasters, everybody coming
            over. And they will be able to talk without worrying about getting kicked off
            of YouTube. On my platform, Eric, if you get kicked off of YouTube, you’re
            going to get a bonus! We give bonuses if you’re kicked off of YouTube.86

            48.     On April 19, 2021, Defendants’ website frankspeech.com officially

   launched.87 The new platform kicked off with a 48-hour “Frankathon” that was beset by

   technical difficulties and involved Defendants making a variety of election fraud claims

   and promising to release a new election fraud documentary, “Absolute Interference.” 88

   E.       Defendants defame Dr. Coomer via frankspeech.com.

            49.     Defendants utilized Frankspeech to defame Dr. Coomer to an online

   audience around the world, including Colorado, where their defamatory conduct took a

   variety of forms, including republication of defamatory articles that had been retracted by

   other outlets, publication of defamatory interviews conducted by Frankspeech hosts, and

   publication of defamatory statements by Lindell himself.89


   85 The Eric Metaxas Radio Show, Mike Lindell On His Election Investigation And FrankSpeech.com,
   RUMBLE (Mar. 30, 2021), https://rumble.com/vf77xd-mike-lindell-on-his-election-investigation-and-
   frankspeech.com.html
   86 Id.

   87Jason Murdock, Mike Lindell’s Site Frank Goes Down Days After Launch, Dubbed ‘Epic Success’,
   Newsweek (Apr. 22, 2021), https://www.newsweek.com/mike-lindell-frank-speech-down-offline-launch-
   mypillow-social-media-1585592
   88 Cheryl Teh, I watched 8 hours of Mike Lindell’s 48-hour Frankathon. Here are the highlights.,
   BUSINESS INSIDER (Apr. 20, 2021), https://www.businessinsider.com/mike-lindell-frank-a-thon-
   highlights-2021-4#
   89 See infra at ¶¶ 50-60.




                                                   31
Case No. 1:22-cv-01129-NYW-SKC Document 1-1 filed 05/05/22 USDC Colorado pg 32 of
                                     67




           50.     Specifically, the Frankspeech website includes a wide variety of content,

   including a 24-hour livestream of “Lindell TV”, links to various news articles and

   segments produced either by Frankspeech or by various other third-parties, a podcast

   page where dozens of podcasts are platformed, an online store selling a variety of

   MyPillow products, and a variety of links under a tab labeled “Fix2020First.”

   Significantly, this includes re-publishing Oltmann’s “Conservative Daily” podcast with

   almost daily publications defaming Dr. Coomer with ongoing allegations that he

   participated in an Antifa conference call, claimed on that call that he intended to subvert

   the results of the 2020 election, and then did in fact subvert the presidential election.90

           51.     Additionally, the “Fix2020First” tab published by Defendants includes a

   link to a series of articles titled “Proof from Internet Sources.” The articles included in

   this section appear to be printouts from articles from various other sources that were then

   altered or otherwise augmented with highlights, underlined portions, and other indicia of

   modification before then being scanned and uploaded to the website. They promote a

   wide variety of false claims about the 2020 election in general and also include false

   claims about Dr. Coomer that expressly or implicitly state he participated in an Antifa




   90 See generally, https://frankspeech.com/shows/conservative-daily-podcast-0. Conservative Daily
   produces two podcasts a day, and the variety of defamatory content published therein is too voluminous to
   describe here, but a few recent examples include Eric Coomer: A Case Study in Sociopathy, CONSERVATIVE
   DAILY PODCAST (Mar. 3, 2022); Is This the Calm Before the Storm? Clay Clark Dives into Klaus Schwab
   Advisor, CONSERVATIVE DAILY PODCAST, (Mar. 16, 2022); The Fraud Continues – A Decade of Deception,
   CONSERVATIVE DAILY PODCAST, (Mar. 29, 2022).




                                                     32
Case No. 1:22-cv-01129-NYW-SKC Document 1-1 filed 05/05/22 USDC Colorado pg 33 of
                                     67




   conference call, claimed on that call that he intended to subvert the results of the

   2020 election, and then did in fact subvert the presidential election. 91

          52.     In an article published by Defendants and titled, “Who are behind

   Smartmatic, Sequoia, and Dominion Voting Systems?” an unidentified author states the

   following about Dr. Coomer: “Eric Coomer is a [sic] Dominion’s VP, Antifa Supporter and

   Trump Hater. He travelled all the battleground states in 2019 and made sure that

   Dominion voting systems [sic] was in all of them. He said in an Antifa Conference call

   that he makes [sic] sure Trump will not win 2020 election [sic].” 92 These statements are

   unequivocally false. In reality, Dr. Coomer did not travel to every battleground state in

   2019; did not and could not have “made sure” those states purchased Dominion products;

   did not participate in an Antifa conference call; did not claim that he had rigged the

   election; and did not in fact rig the election.

          53.     Further, on May 3, 2021, Frankspeech anchor Brannon Howse conducted

   an interview with Oltmann titled “Joe Oltmann Exposes Eric Coomer of Dominion Voting

   Systems.”93 The interview, which was more than 40 minutes long, started with Howse

   informing the audience that Oltmann was appearing from Colorado, and speaking on

   behalf of MyPillow to request that viewers purchase MyPillow products from



   91       See        https://cdn.frankspeech.com/static/articles/15yrsDominionCorruption11-20-20.pdf;
   https://cdn.frankspeech.com/static/articles/DominionMachinesrelationtoSmartmaticSequoia03-05-
   21.pdf;                https://cdn.frankspeech.com/static/articles/FunctiontoSwitchVotes03-27-21.pdf;
   https://cdn.frankspeech.com/static/articles/AntifaCalls03-27-21.pdf;
   https://cdn.frankspeech.com/static/articles/WhoisSmartmatic,Sequoia,andDominion.pdf
   92  See https://cdn.frankspeech.com/static/articles/WhoisSmartmatic,Sequoia,andDominion.pdf (last
   visited Apr. 4, 2022).
   93 See Frankspeech, LINDELL TV, (May 3, 2021) https://home.frankspeech.com/video/joe-oltmann-
   exposes-eric-coomer-dominion-voting-systems




                                                    33
Case No. 1:22-cv-01129-NYW-SKC Document 1-1 filed 05/05/22 USDC Colorado pg 34 of
                                     67




   mypillow.com. Howse began, “Again, I want to remind you before we go to our next guest

   in Colorado, he’s going to tell you about a live conference call with one of the leaders of

   Dominion voting machines. Before we go to that guest, don’t forget, go to mypillow.com

   if you would. Use the promo code FRANK and save up to 66%.”

          54.    After introductions, the interview proceeded with Howse asking Oltmann

   to identify Dr. Coomer for the Frank TV audience. “So you were on a phone call with Eric

   . . . Cooner? Is that his name again?” “Eric Coomer,” Oltmann responded. “Eric Coomer,

   yes.” Howse then asked, “So who is he, for those that don’t know?” Oltmann responded,

   “He is the Director of Strategy and Security for Dominion Voting Systems, among other

   things.”

          55.    Oltmann then repeated his false claims about Dr. Coomer claiming to have

   rigged the election, stating, “And as I came in and people started speaking, um, someone

   interrupts a guy named Eric and somebody asked this guy named Eric, who is this guy

   named Eric? And somebody answers ‘Eric is the Dominion guy.’ So, I take very, very

   good notes. So, I started taking notes, writing down all the information that I was

   gathering.   Somebody interrupts after they said, ‘go ahead, Eric.’       And somebody

   interrupts and goes, ‘What are we gonna do if f-ing Trump wins?’ And Eric responds,

   ‘Don’t worry about the election, Trump’s not going to win. I made f-ing sure of it.’ And

   then they all started laughing, right.”

          56.    Minutes later, Oltmann claimed that he had determined the anonymous

   “Eric” allegedly referred to by other anonymous speakers on the “Antifa call” was

   Dr. Coomer by conducting a Google search. “Now, I got off that call,’ he said, “started




                                               34
Case No. 1:22-cv-01129-NYW-SKC Document 1-1 filed 05/05/22 USDC Colorado pg 35 of
                                     67




   doing research, researched, uh, it wasn’t that brilliant even though I’m in a data company

   it didn’t take me much to figure out who he was. I Googled ‘Eric Dominion Denver

   Colorado’ and up pops all this information on Eric Coomer of Dominion Voting Systems

   and what he did.”94 Oltmann did not identify any other reliable means or expertise for

   identifying these alleged speakers. Howse did not ask for any evidence to support

   Oltmann’s assertions, nor did Oltmann disclose that he had fabricated evidence of a

   supposed Google search in the days after his initial claims about Dr. Coomer in order to

   bolster his claims.

           57.     Despite claiming to have uncovered a plot to subvert the presidential

   election months before it occurred, Oltmann then claimed to have forgotten about the

   “Antifa call” until a friend sent him an article about election irregularities on November 6,

   2020. “As I go down the article,” Oltmann said, “guess who is in the article as the

   spokesperson for Dominion Voting Systems? It’s none other than Eric Coomer. So, at

   that point, my heart sank.” Oltmann described this supposed revelation as follows: “I

   knew at that moment that the voice of the American people had been completely

   destroyed. It was decimated, and that what we have now is in essence a communist

   society.”

           58.     Oltmann went on to describe how Dr. Coomer had sued him in Colorado for

   defamation. “What for?” asked Howse. “For defamation,” Oltmann responded. “Because

   the truth hurts, I guess.”        Oltmann then described his pending motion to dismiss


   94 Oltmann alleged, and subsequently swore under oath, to have taken screenshot of the Google search

   results September 26, 2020. However, the image includes a Google image only made as of November 11,
   2020, placing the alleged search conclusively after Oltmann first raised allegations against Dr. Coomer on
   November 9, 2020.




                                                      35
Case No. 1:22-cv-01129-NYW-SKC Document 1-1 filed 05/05/22 USDC Colorado pg 36 of
                                     67




   Dr. Coomer’s complaint pursuant to Colorado’s anti-SLAPP statute, stating, “We filed a

   motion to dismiss, so it’s in that, and then the anti-SLAPP motion which basically says

   that he has to prove I lied. It’s really hard to prove that I lied because I didn’t lie.”

          59.    The lengthy interview concluded with Oltmann highlighting what he

   believed to be the significance of his false allegations against Dr. Coomer and about his

   broader claims of election fraud in general. “What we’re dealing with now is not some

   small problem,” he said. “It is a massive problem. And if the US falls, billions of people,

   listen to me, billions of people across this globe will die. They will die.”

          60.    Less than a week later, on May 9, 2021, Lindell also appeared on

   Frankspeech, where he again inextricably linked Dr. Coomer to Dominion Voting

   Systems, thus perpetuating the conflation of conspiracy theories about Dominion with

   Dr. Coomer himself. “It’s over for Dominion,” Lindell stated. “It’s too late to close the

   gate. The cows are out of the barn. Dominion, you did your best, and Smartmatic, to take

   our country through China. You did your best, you corrupt people, you. You tried to

   suppress our voice. You did it, but you failed.” Lindell then turned his attention directly

   to Dr. Coomer, stating:

          Yeah, Eric Coomer, if I’m you right now, I am, instead of going over and
          making deals at Newsmax, if I’m you, I’m turning myself in and
          turning in the whole operation so maybe, just maybe, that you get
          immunity and you only get to do, I don’t know, ten, twenty years.
          I mean, you are disgusting, and you are treasonous. You are a
          traitor to the United States of America. And you know what? I can
          say that, just like I can about Brian Kemp and Brad Raffensberger. These
          are things that I have evidence of. The evidence is there. You
          know, it’s sitting there. Well Mike, ‘Why don’t you turn it all in to the




                                                 36
Case No. 1:22-cv-01129-NYW-SKC Document 1-1 filed 05/05/22 USDC Colorado pg 37 of
                                     67




           Supreme Court and bring it to the FBI?’ Oh, it’s getting to the Supreme
           Court, everybody.95

           61.      Defendants further knew their claims about Dr. Coomer were false or had

   reason to doubt their veracity given that Newsmax had just issued a public retraction and

   apology to Dr. Coomer days prior for their own coverage of Oltmann’s lies. Defendants

   were obviously familiar with that retraction based on Lindell’s reference to Dr. Coomer

   “making deals at Newsmax.” Newsmax’s on-air retraction and apology to Dr. Coomer

   stated:

           Since election day, various guests, attorneys, and hosts on Newsmax have
           offered opinions and claims about Dr. Eric Coomer, the Director of Product
           Strategy and Security at Dominion Voting Systems. Newsmax would like to
           clarify its coverage of Dr. Coomer and note that while Newsmax initially
           covered claims by President Trump's lawyers, supporters and others that
           Dr. Coomer played a role in manipulating Dominion voting machines,
           Dominion voting software, and the final vote counts in the
           2020 presidential election, Newsmax subsequently found no evidence that
           such allegations were true. Many of the states whose results were contested
           by the Trump Campaign after the November 2020 election have conducted
           extensive recounts and audits and each of these states certified the results
           as legal and final.

           There are several facts that our viewers should be aware of. Newsmax has
           found no evidence that Dr. Coomer interfered with the Dominion voting
           machines or voting software in any way, nor that Dr. Coomer ever claimed
           to have done so, nor has Newsmax found any evidence that Dr. Coomer ever
           participated in any conversation with members of Antifa, nor that he was
           directly involved with any partisan political organization. On behalf of
           Newsmax, we would like to apologize for any harm that our reporting of
           allegations against Dr. Coomer may have caused to Dr. Coomer and his
           family. For more on this, please go to our website at Newsmax.com and
           read facts about Dominion and Smartmatic that you should know. 96



   95https://caincloud.egnyte.com/dl/9st1fcl4HI/20210509_Twitter_PatriotTakes_Mike_Lindell_Video.m

   p4_ (last visited Apr. 4, 2022).
   96 https://caincloud.egnyte.com/dl/niHLw3JAoG




                                                   37
Case No. 1:22-cv-01129-NYW-SKC Document 1-1 filed 05/05/22 USDC Colorado pg 38 of
                                     67




            62.    Despite this unequivocal retraction and apology, Defendants still fully

   adopted and republished Oltmann’s false claims about Dr. Coomer in their multiple

   publications in early May 2021.97

            63.    This was not the first time that Defendants disregarded retractions

   regarding their false claims.        On the Frankspeech “Proof from Internet Sources”

   webpage,98 Defendants republished an article on April 4, 2021, identified as

   “American Thinker on Dominion Voter Fraud”99 with allegations made that had been

   retracted.     The American Thinker article, originally written by Andrea Widburg on

   November 29, 2020, contained a series of false statements involving Dominion Voting

   Systems and allegations of election fraud.100 However, Defendants do not disclose that

   on January 15, 2021, American Thinker issued the following retraction regarding its

   reporting on Dominion Voting Systems, stating:

            American Thinker and contributors Andrea Widburg, R.D. Wedge,
            Brian Tomlinson,     and     Peggy    Ryan       have    published   pieces
            on www.AmericanThinker.com that falsely accuse US Dominion Inc.,
            Dominion Voting Systems, Inc., and Dominion Voting Systems Corporation
            (collectively “Dominion”) of conspiring to steal the November 2020 election
            from Donald Trump. These pieces rely on discredited sources who have
            peddled debunked theories about Dominion’s supposed ties to Venezuela,
            fraud on Dominion’s machines that resulted in massive vote switching or
            weighted votes, and other claims falsely stating that there is credible
            evidence that Dominion acted fraudulently.

            These statements are completely false and have no basis in fact. Industry
            experts and public officials alike have confirmed that Dominion conducted


   97 Supra ¶¶ 53-60.

   98 See https://frankspeech.com/content/2020-election-fraud-proof-internet-sources

   99 See https://cdn.frankspeech.com/static/articles/AmericanThinkeronDominionVoterFraud11-29-20.pdf

   100 See id.




                                                    38
Case No. 1:22-cv-01129-NYW-SKC Document 1-1 filed 05/05/22 USDC Colorado pg 39 of
                                     67




             itself appropriately and that there is simply no evidence to support these
             claims.

             It was wrong for us to publish these false statements. We apologize to
             Dominion for all of the harm this caused them and their employees. We
             also apologize to our readers for abandoning 9 journalistic principles and
             misrepresenting Dominion’s track record and its limited role in tabulating
             votes for the November 2020 election. We regret this grave error.101

             64.   Defendants’ publications also appear to violate Frankspeech’s own posted

   “Terms of Use” which are publicly available on its website.102 Specifically, under the

   section labeled “Content Standards,” the Terms of Use state:

             These content standards apply to any and all user [sic] comply with all
             applicable federal, state, local, and international laws and regulations.
             Without limiting the foregoing, user contributions must not:

             •     Contain any material that is defamatory, obscene, indecent,
                   abusive, offensive, harassing, violent, hateful, inflammatory,
                   or otherwise objectionable.

                                                 ***

             •     Violate the legal rights (including the rights of publicity and
                   privacy) of others or contain any material that could give rise
                   to any civil or criminal liability under applicable laws or
                   regulations or that otherwise may be in conflict with these
                   Terms of Use.

             •     Be likely to deceive any person.

             •     Promote any illegal activity, or advocate, promote, or assist
                   any unlawful act.103




   101     Thomas     Lifson,    Retraction,    AMERICAN      THINKER     (Jan.      15,   2021),
   https://www.americanthinker.com/blog/2021/01/statement.html.
   102 See https://frankspeech.com/terms (last visited Feb. 18, 2022).

   103 Id.




                                                       39
Case No. 1:22-cv-01129-NYW-SKC Document 1-1 filed 05/05/22 USDC Colorado pg 40 of
                                     67




             65.   The Terms of Use also make clear that Frankspeech has the ability to

   remove content that violates its own standards if it chooses to do so. Specifically, under

   the section labeled, “User contributions,” the Terms of Use state:

             We have the right to:

             •     Remove or refuse to post any user contributions for any or no
                   reason in our sole discretion.

             •     Take any action with respect to any user contribution that we
                   deem necessary or appropriate in our sole discretion,
                   including if we believe that such user contribution violates the
                   Terms of Use.

                                                ***

             •     Terminate or suspend your access to all or part of this Website
                   for any or no reason, including without limitation, any
                   violation of these Terms of Use.104

             66.   The defamatory content produced and published by Frankspeech also

   violates its own published “Community Standards.”105 The Community standards do not

   appear to detail any journalistic standards, but do state that

             Frank is grounded in certain eternal truths, including respect for the
             rights and human dignity of others. In keeping with our legal and
             Constitutional history as a nation, Frank will enforce and enjoy
             community standards that are consistent with the legal and
             constitutional standards embodied in the laws of nature and nature’s
             God that are the basis of our federal and state Constitutional Republics.

   (Emphases added).




   104 Id.

   105 See https://frankspeech.com/community-standards (last visited Feb. 18, 2022).




                                                     40
Case No. 1:22-cv-01129-NYW-SKC Document 1-1 filed 05/05/22 USDC Colorado pg 41 of
                                     67




         67.    Despite these stated values, Frankspeech continues to host and promote

   Oltmann’s defamatory publications, and even offers a discount code, “CD21,” for

   MyPillow products to viewers of Oltmann’s podcast.




         68.    Frankspeech can and should have retracted and removed its defamatory

   publications in keeping with its own professed standards, but here, as elsewhere,

   Defendants continue to perpetuate their baseless defamation.

   F.    Defendants defame Dr. Coomer at the “Cyber Symposium” in Sioux
         Falls, South Dakota.

         69.    Lindell’s grasping claims of election fraud reached a new low in August

   2021, when he hosted a “Cyber Symposium” (the Symposium) in Sioux Falls, South

   Dakota. Defendants promoted this event through their various platforms, including their

   websites frankspeech.com and mypillow.com. On the MyPillow webpage, for example,

   Lindell posted a videotaped advertisement for the upcoming Symposium, stating:

         I’m having a Cyber Symposium on August 10th, 11th, and 12th. This
         historical event will be livestreamed 72 hours straight on my new platform,
         FrankSpeech.com. You can help by getting everybody you know to go to



                                             41
Case No. 1:22-cv-01129-NYW-SKC Document 1-1 filed 05/05/22 USDC Colorado pg 42 of
                                     67




             FrankSpeech.com now. To help support this Cyber Symposium event, I am
             offering some of the best prices ever on MyPillow products, but they’re only
             offered on FrankSpeech.com. Go to FrankSpeech.com now to receive these
             exclusive MyPillow offers!106

             70.   On July 2, 2021, Defendants went on right-wing OAN to promote the event.

   There, Lindell stated that “I have all of the packet captures of the whole election, if you

   look up what packet captures are. Packet captures are, they’re like having a movie of the

   whole, inside the internet, and we have every single one of them for the whole

   2020 election.”107 Lindell went on to state that “we’re bringing all the packet captures

   there.     We’re bringing, inviting all these cyber forensic experts that have the right

   credentials, CISSP, whatever that means. I’m not even sure, but what that means.”108

   Lindell assured the audience that following the Symposium, “not one person on the planet

   can say that this isn’t real and that Donald Trump did not win eighty million to sixty-eight

   million, because he did.”109

             71.   The Frankspeech webpage hosted a promotional flyer for the Symposium,

   highlighting in large gold letters a “$5,000,000 CHALLENGE.” 110 The flyer claimed that

   “A $5,000,000 prize will be offered to any attendee who can prove that this cyber data is

   not valid data from the November 2020 election.”111 In capital letters, the flyer concluded




   106 See https://www.mypillow.com/frankspeech (last visited Feb. 9, 2022).

   107 See Lindell Announces Cyber Symposium Exposing Election Fraud Evidence, OAN (July 2, 2021),

   https://frankspeech.com/video/mike-lindell-announces-details-upcoming-cyber-symposium-oan
   108 Id.

   109 Id.

   110 https://frankspeech.com/content/mike-lindells-cyber-symposium-2021

   111 Id.




                                                     42
Case No. 1:22-cv-01129-NYW-SKC Document 1-1 filed 05/05/22 USDC Colorado pg 43 of
                                     67




   by stating, “HELP SAVE OUR COUNTRY AND MAKE THIS IMPORTANT EVENT THE

   MOST WATCHED LIVE EVENT IN HISTORY.”112

             72.   Below the promotional flyer, published by frankspeech.com, appeared

   additional text explaining the Symposium and assuring its audience that the Symposium

   would present verifiable facts. “For our attendees, they have one goal. Find proof that

   this cyber data is not valid data from the November Election. For the people who are able

   to find the evidence, 5 million is their reward. Seems insane, right? But this is real!” 113

   The ad went on to state that, “Despite the mockery, it doesn’t hide this simple truth.

   Regardless of political affiliation, a corrupt election system is disastrous for all of us. That

   is why everyone should be fighting to find out the truth. And this 72-hour event has been

   put together by Mike Lindell to do just that.”114

             73.   On the first night of the Symposium, Tina Peters, 115 the county clerk and

   recorder for Mesa County, Colorado, took the stage with other Colorado election fraud

   conspiracy theorists, including Shawn Smith, and claimed that her office had been

   “invade[d]” and “raided” by investigators with the Colorado Secretary of State’s office,

   who were conducting an investigation into a potential breach of election security systems.


   112 Id.

   113 Id.

   114 Id.

   115 Peters was an early adopter of the false claims about Dr. Coomer, and on January 3, 2021, attempted to

   influence Republican Senator Pat Toomey’s decision to certify the election results for President Biden, in
   part         by       alluding        the       false       claims        spread        by       Oltmann.
   See https://web.archive.org/web/20210103152507/https:/twitter.com/bhealthynow/status/13457529188
   05286913. On March 9, 2022, a grand jury indicted Peters on ten counts, including five felony counts
   arising from her alleged misconduct as county clerk. The Mesa County Deputy Clerk, Belinda Knisley, also
   faces four felony counts arising from her coordination with Peters. See Jesse Paul, Mesa County Clerk Tina
   Peters indicted by grand jury on felony charges, COLORADO SUN, Mar. 9, 2022,
   https://coloradosun.com/2022/03/09/tina-peters-indicted-grand-jury/




                                                      43
Case No. 1:22-cv-01129-NYW-SKC Document 1-1 filed 05/05/22 USDC Colorado pg 44 of
                                     67




   The investigation was launched after materials from the Mesa County Clerk’s office were

   identified on the Telegram account of Ron Watkins, a right-wing conspiracy theorist

   widely believed to be the individual behind the “QAnon” conspiracy theory.116 The next

   day, Watkins appeared remotely at the conference to discuss the stolen data, only to

   abruptly claim that his lawyer had just instructed him to say that the files were from hard

   drives that were taken “without authorization” from the Mesa County Clerk’s office.

   Watkins then stated that, “we should stop this data review.” 117 Watkins went on to state

   that he had received the stolen data from Sherrona Bishop, former campaign director for

   U.S. Representative Lauren Boebert.118

           74.     Despite the surprise appearance of Tina Peters, the work of actually

   inspecting the supposed “packet captures” or “PCAPS” that Defendants claimed would

   reveal foreign interference in the 2020 election continued. By day two of the Symposium,

   the outright falsity of Defendants’ claims with respect to the alleged “evidence” they

   claimed to possess had become widely apparent.

           75.     Defendants’ own “cyberexpert” Josh Merritt119 who was hired by

   Defendants to serve on their so called “red team,” stated that “our team said we’re not


   116See A.J. Vicens, QAnon Hero Claims to Present Sensitive Election Files at MyPillow CEO Event,
   MOTHER JONES (Aug. 11, 2021), https://www.motherjones.com/politics/2021/08/qanon-hero-claims-to-
   present-sensitive-election-files-at-mypillow-ceo-event/
   117 See Trapezoid of Discovery, @get_innocuous, TWITTER (Aug. 11, 2021),

   https://twitter.com/get_innocuous/status/1425566065413607427?s=20&t=ghYw-7CivFxGBnSs_nVd6A
   118 See Trapezoid of Discovery, @get_innocuous, TWITTER (Aug. 11, 2021),
   https://twitter.com/get_innocuous/status/1425566214353342466?s=20&t=ghYw-7CivFxGBnSs_nVd6A
   119 Prior to working with Lindell, Merritt provided an affidavit to Sidney Powell, where he was identified

   with the pseudonym “Spyder” and described as being a “military intelligence expert.” In reality, Merritt
   was an army mechanic who never completed an entry-level training course for military intelligence. See
   Emma Brown et. al., Sidney Powell’s secret ‘military intelligence expert,’ key to fraud claims in election
   lawsuits, never worked in military intelligence, WASHINGTON POST (Dec. 11, 2020),




                                                      44
Case No. 1:22-cv-01129-NYW-SKC Document 1-1 filed 05/05/22 USDC Colorado pg 45 of
                                     67




   going to say that this is legitimate if we don’t have confidence in the information.” Merritt

   went on to state, “We were handed a turd. And I had to take that turd and turn it into a

   diamond. And that’s what I think we did.”120 In a subsequent interview,121 Merritt

   confirmed that Defendants knew the information they intended to present at the

   Symposium was fraudulent but proceeded anyway in willful avoidance of the truth. “In

   the days leading up to the Symposium, we found that the information did not hold up to

   what Lindell claimed,”122 said Merritt. “The days leading up to the Symposium, the 10th

   and the morning of the 11th, we kept telling Lindell, ‘Hey, this information is not what is

   claimed.’ And he wouldn’t have it. Even his own attorney told him, ‘Look, there’s some

   problems here.’”123 Merritt went on to state that Defendants knowingly concealed their

   knowledge of the falsity of the information presented to the public, stating, “All of the

   precursor information was showing not to be legitimate. So he just decided to hide that

   type of information from the public, but still talk about PCAPS.” 124 Merritt went on to

   state, “You can’t stop fraud by then being involved in more fraud, because all that’s going

   to do is destroy what you’re doing.”125




   https://www.washingtonpost.com/investigations/sidney-powell-spider-spyder-
   witness/2020/12/11/0cd567e6-3b2a-11eb-98c4-25dc9f4987e8_story.html
   120See Aaron Blake, The spectacular implosion of Mike Lindell, WASHINGTON POST (Aug. 12, 2021),
   https://www.washingtonpost.com/politics/2021/08/12/spectacular-implosion-mike-lindell/
   121 See QAnon Anonymous, Episode 171 – Inside the Election Fraud Conspiracy Theories (Dec. 21, 2021),

   https://soundcloud.com/qanonanonymous/episode-171-inside-the-election-fraud-conspiracy-theories
   122 Id., at 50:04.

   123 Id.

   124 Id., at 51:14.

   125 Id., at 51:44.




                                                    45
Case No. 1:22-cv-01129-NYW-SKC Document 1-1 filed 05/05/22 USDC Colorado pg 46 of
                                     67




           76.      Another expert at the Symposium described the information “revealed” to

   the attendees as “random garbage that wastes our time.”126 Upon realizing that attendees

   had become aware that this “evidence” was clearly fraudulent, Defendants then

   unsuccessfully attempted to quietly withdraw the $5 million reward.127 Here again,

   Merritt confirmed that Defendants were knowingly committing fraud, stating:

           And then Lindell got mad because I disclosed a lot of this, disclosed the
           dishonesty that was going on backstage. He knowingly frauded the cyber
           experts that were there by saying that there was a five million dollar reward
           to prove that his information was wrong, but he knew that no one would be
           able to win it because when we were in the red team room, he checked with
           his lawyer to make sure that it was worded so that nobody could win. 128

           77.      As word spread that Defendants had no proof that any election fraud had

   occurred, news also broke that the federal court in Washington D.C. had denied Lindell

   and MyPillow’s motion to dismiss the $1.3 billion defamation lawsuit filed against them




   126 See Justin Baragona, MyPillow Guy’s ‘Cyber Expert’ Admits They Have No Proof of Election Hack,

   YAHOO! NEWS      (Aug.   11, 2021),    https://news.yahoo.com/mypillow-guy-cyber-expert-admits-
   030459933.html?guccounter=1&guce_referrer=aHR0cHM6Ly93d3cuZ29vZ2xlLmNvbS8&guce_referrer
   _sig=AQAAAFL7dxv6z6LHUwMN8R9jeZsouYZ4bq9Ei2prK1FLhARingFfFfh-
   EGLdG94ckT3lWqMOHjsvx37vrD9STqHRtN-wPcQCISGxf8zcRd-
   A3MIUpx2Q0SPgtg8bWYwGAwFMrkPlFeteRSmhW4dMfgnDdz0n9_aT0rVEwtW4dQvmvnbM
   127 See Beth Warden, Cyber Symposium expert delivers papers to Lindell’s attorneys claiming $5 million

   reward, DAKOTA NEWS NOW (Aug. 17, 2021), https://www.dakotanewsnow.com/2021/08/18/cyber-
   symposium-expert-delivers-papers-lindells-attorneys-claiming-5-million-dollar-reward/
   128 Supra n. 110, at 59:58.




                                                    46
Case No. 1:22-cv-01129-NYW-SKC Document 1-1 filed 05/05/22 USDC Colorado pg 47 of
                                     67




   by Dominion Voting Systems in February 2021. 129 Upon being apprised of the news,

   Lindell rushed offstage in the middle of a presentation by another speaker. 130

           78.     Undeterred by the chaos unfolding around him, Defendants proceeded with

   the Symposium, where they brought Oltmann onstage to defame Dr. Coomer at length, as

   they knew he would, and to impugn the credibility of the judiciary as a whole, all while

   publishing the entire event live online. Oltmann, who had been ordered to appear for a

   deposition in Denver that same day, appeared onstage with fellow conspiracy theorists

   David Clements, Phil Waldron, Patrick Colbeck, and Josh Merritt.

           79.     Oltmann introduced himself to the audience, saying “My name is Joe

   Oltmann. I was the CEO of a tech company. I had to resign. I was the one who came

   forward with the information about Eric Coomer of Dominion Voting Systems.” Oltmann

   then went on to present a series of falsehoods as absolute truth, stating, “So I’ve studied

   Dominion, like literally every manual, diagram, RFP, um, I got sued by Eric Coomer for

   defamation. By the way, I just want to say publicly to whoever is listening, I never lied.

   And I would never ever, ever put somebody’s name out there if I wasn’t 100% sure that he

   was the one that was on the call with Antifa, and at the time I didn’t know who he was.”

   In reality, Oltmann has no meaningful knowledge of how Dominion machines operate,


   129 See U.S. Dominion, Inc., et. al. v. My Pillow, Inc. et. al., 1:21-cv-00445-CJN, Order Denying Defendants’

   Motions to Dismiss, at pp. 24-27, (Filed Aug. 11, 2021) (noting that “As a preliminary matter, a reasonable
   juror could conclude that the existence of a vast international conspiracy that is ignored by the government
   but proven by a spreadsheet on an internet blog is so inherently improbable that only a reckless man would
   believe it,” and concluding, “In totality, [Dominion] has adequately alleged that Lindell made his claims
   knowing that they were false or with reckless disregard for the truth.”)
   130 See Grace Dean, Here’s what happened at Mike Lindell’s cyber symposium, from him storming offstage

   to Bolsonaro’s son giving him a MAGA hat signed by Trump, BUSINESS INSIDER (Aug. 15, 2021),
   https://www.businessinsider.com/mike-lindell-voter-election-fraud-cyber-symposium-donald-trump-
   bolsonaro-2021-8




                                                       47
Case No. 1:22-cv-01129-NYW-SKC Document 1-1 filed 05/05/22 USDC Colorado pg 48 of
                                     67




   has repeatedly admitted that he could not conclusively identify Dr. Coomer on the

   supposed Antifa call,131 and has been rebutted by multiple witnesses who have submitted

   sworn affidavits disputing his implausible claims.

           80.      Later in the discussion, another member of the panel, David Clements,

   provided the audience with context for Oltmann’s statements by asking a series of leading

   questions. That exchange occurred as follows:

           Clements: “Ok, so let’s connect another dot really quick. You need to keep
           in mind that one of the major players is Eric Coomer. Eric Coomer was or
           is a vice president of Dominion systems. And what particular title does he
           have as vice president?”

           Oltmann: “He was the Director of Security and Strategy for Dominion
           Voting Systems. He holds the adjudication patent that was assigned to, I
           think HSBC, as a guarantor on it.”

           Clements: “Well follow me here, there’s a few other questions. You
           mentioned that your presiding judge was marching in Antifa rallies last
           summer.”

           Oltmann: “Yes.”

           Clements: “Were you not the person who disclosed screenshots of social
           media posts that also shows that Eric Coomer has deep ties with Antifa?”

           Oltmann: “100%.”


   131 Joe Oltmann, Dominion, Big tech, and how they stole it, CONSERVATIVE DAILY PODCAST, Nov. 9, 2020, at

   16:01 (Oltmann: “As the call carried on, a person who called himself Eric was on the call. Now I can’t tell
   you if it was the same Eric but I’m going to tell you how it led me to gather the rest of this information.”);
   at 17:10 (Oltmann: “So Eric continues to fortify, so this person Eric continues to fortify groups and recruiting
   and he was eccentric and very boisterous compared to what I remember hearing in his other
   videos. I think it’s a match but I can’t be sure so I’m going to put that out there, but I can be
   sure of everything else I’m about to share with you.”); at 52:52 (Oltmann: “Let me put this all together for
   you guys, so you have a guy that is actually going to an Antifa meeting that tells somebody else, supposedly,
   that he’s got the election in hand,” McGuire: “Well not supposedly, you heard it. Not supposedly, you heard
   it. You’re an eye witness.” Oltmann: “But I didn’t see him, right? They identified him as Eric from
   Dominion, but I didn’t, I mean, I have to basically say that there could be, maybe it’s a
   different guy, but that led me to all the other things that I got, which is, getting access to
   Facebook, getting access to this information.”) (Emphases added).




                                                         48
Case No. 1:22-cv-01129-NYW-SKC Document 1-1 filed 05/05/22 USDC Colorado pg 49 of
                                     67




          Clements: “Ok, and were you not also on a phone call with Eric Coomer, or
          some recording where he made a particularly controversial statement about
          our then president?”

          Oltmann: “Yeah, so, uh, yes.”

          Clements: “And what was that statement?”

          Oltmann: “He said that, uh,-”

          Waldron: “He’s in full on lawyer mode.”

          Oltmann: “Yeah he is in lawyer mode, I’m like yes sir! ‘Don’t worry about
          the election. Trump’s not going to win. I made f-ing sure of it.’ I’m a
          Christian so I’m not going to use that word up here.”

          81.    Oltmann then digressed with additional commentary about his beliefs on

   the corruption of the court, and Clements later rejoined, “You’ve got a truth teller over

   here in Joe Oltmann, who is trying to tell you about his odyssey through all of these

   things.” At the conclusion of the discussion, Patrick Colbeck thanked Lindell, who he

   credited for sponsoring publication of the lengthy attack on both Dr. Coomer and the

   Denver District Court, stating, “This is a point of hope for everyone here. Despite them

   trying to keep us silent for nine months, for this election here, here we are in Sioux Falls,

   South Dakota, because of the leadership of Mike Lindell, and him being able to risk

   everything to get us all together. We are here to talk about this, and we are not being

   quiet. No more being quiet.”

          82.    Following the panel discussion, Defendants went on to publish another

   presentation prepared by Clements, which he titled “The Vote Trafficking Parable.”

   Clements then described a murder investigation involving a drug trafficking gang in New

   Mexico, the “AZ Boys.” Clements claims to have partaken in the investigation while




                                                49
Case No. 1:22-cv-01129-NYW-SKC Document 1-1 filed 05/05/22 USDC Colorado pg 50 of
                                     67




   working as a prosecutor years prior. Clements then analogized executives at Dominion

   Voting Systems and local elections officials to members of the drug trafficking gang. He

   displayed photos of various individuals, stating, “That’s [CEO of Dominion Voting

   Systems] John Poulos, we’ve got Eric Coomer, we’ve got [Maricopa County Recorder]

   Adrian Fontes, we’ve got the Maricopa County board of supervisors. So in one case we’ve

   got the AZ Boys, and in the other case we’ve got the Maricopa County Board of Supervisors

   trafficking our votes.”




          83.    As the “parable” continued, Clements made clear that was comparing

   Dr. Coomer to the “trigger man” in the story about the AZ Boys. He stated:

          Alright, so you’ve got a couple of hitmen that were pulling the triggers. The
          first gentleman, if you know, is John Poulos, who is the CEO of Dominion.
          When he gave those remarks, it was before the legislature, under oath. John
          Poulos committed perjury, time and time again. The other gentleman at the
          end was a person we’ve heard about because of Joe Oltmann. Eric Coomer,
          who holds the patent for the feature known as adjudication, which is one of
          the tools in their tool chest to murder the American people’s vote. And this
          is one of the statements he made along with, when Joe Oltmann talked
          about being on the call, this is what he heard. And you heard from Joe
          Oltmann. You can assess whether you think he's telling the truth. ‘I made



                                               50
Case No. 1:22-cv-01129-NYW-SKC Document 1-1 filed 05/05/22 USDC Colorado pg 51 of
                                     67




          f-ing sure that Trump’s not going to win.’ That’s the vice president of a
          company that’s running elections in 28 states. You’ve got your election
          cartel, you’ve got your vote trafficking organizations, and you have the man
          that pulled the trigger.

          84.    In an apparent threat directed at Dr. Coomer and others, Clements went on

   to state, “So my message for some of you out there in the vote trafficking world, it’s not

   too late for you to get some lenience, because we’re going to get you one way or the other.”

          85.    The defamation of Dr. Coomer continued onstage at the Symposium with

   Oltmann appearing for yet another presentation, this one titled “Dominion: Serbian Tech

   with Chinese Characteristics.”     In this convoluted and contradictory presentation

   attempting to draw some connection between China and Dominion Voting Systems,

   Oltmann went on to again defame Dr. Coomer, stating, “I think that my only nexus

   involved in this deal was uncovering the information that I had related to Eric Coomer,

   and that he was in a position where he could affect the election, and that from there, all

   of the other evidence that’s come forward about Dominion.” In reality, Dr. Coomer was

   not in a position to affect the election, and Oltmann has never “uncovered” information

   suggesting otherwise.




                                               51
Case No. 1:22-cv-01129-NYW-SKC Document 1-1 filed 05/05/22 USDC Colorado pg 52 of
                                     67




          86.        Oltmann went on to again falsely assert that Dr. Coomer partook in an

   Antifa call where he supposedly bragged about the election. “I will accept the truth,” he

   falsely stated. “I’ll even accept that maybe Eric Coomer got on that and it was hyperbolic,

   right? That he just wanted to puff his chest and have a little bit of him. I’d accept that if

   all the other indicators didn’t show that we had a massive fraud on the American people.

   I’m a realist.”

   G.     Lindell continues to target Colorado with election falsehoods.

          87.        Since the Symposium, Defendants have maintained close relationships with

   various Colorado election fraud conspiracy theorists, including Joe Oltmann, Tina Peters,

   Sherrona Bishop, Shawn Smith, Ashley Epp, Holly Kasun, and others.132 For example,

   Lindell is now funding the Colorado-based right-wing group Cause of America. Smith



   132 Erik Maulbetsch, MyPillow CEO Hires Colorado Conspiracists to Jet Around Country Pushing Big Lie,

   COLORADO TIMES RECORDER (Nov. 29, 2021), https://coloradotimesrecorder.com/2021/11/mypillow-ceo-
   hires-colorado-conspiracists-to-jet-around-country-pushing-big-lie/41494/




                                                    52
Case No. 1:22-cv-01129-NYW-SKC Document 1-1 filed 05/05/22 USDC Colorado pg 53 of
                                     67




   told Steve Bannon that “Mike Lindell is kind of the angel investor, and the purpose of

   Cause of America is to enable the grassroots organizations across the country who are

   doing election integrity.” 133




             88.   More recently, Lindell’s private jet has been recorded ferrying election fraud

   conspiracy theorists to and from Colorado, including shortly after Tina Peters was

   recently arrested for allegedly obstructing a peace officer and obstructing government

   operations.134 When contacted with questions about his work in Colorado, Lindell stated,

   “Peters did nothing but be a patriot and make a copy of a corrupt thing. As the county

   clerk, she made a copy. She was supposed to do it. By the way, did you know other clerks

   in Colorado did that too? Same thing! And we have – it’s not just her.”135 Lindell went



   133 Julia Fennell, MyPillow’s Lindell funds new nationwide ‘election integrity’ group with Colorado ties,

   activist    tells  Steve     Bannon,        COLORADO    TIMES  RECORDER     (Nov.     25,     2021),
   https://coloradotimesrecorder.com/2021/11/mypillows-lindell-funds-new-nationwide-election-integrity-
   group-with-colorado-ties-activist-tells-steve-bannon/41439/
   134 Erik Maulbetsch, MyPillow CEO’s Jet Flew to Grand Junction Hours After Clerk Peters’ Arrest,
   COLORADO TIMES RECORDER (Feb. 10, 2022), https://coloradotimesrecorder.com/2022/02/mypillow-ceos-
   jet-flew-to-grand-junction-hours-after-clerk-peters-arrest/42977/
   135 Id.




                                                      53
Case No. 1:22-cv-01129-NYW-SKC Document 1-1 filed 05/05/22 USDC Colorado pg 54 of
                                     67




   on to echo the calls for violence recently issued against elected officials in Colorado,

   stating, “Because in Colorado, they deleted the whole 2020 election! And guess what?

   We have what they deleted! They’re all going to prison, period. And [Secretary of State]

   Jena Griswold is number one on the list.”136

   H.        Defendants’ allegations against Dr. Coomer were made with actual
             malice.

             89.   Then, as now, Defendants relied exclusively on Oltmann as the sole source

   of their defamatory claims against Dr. Coomer. From the beginning, Defendants have

   had numerous reasons to know that Oltmann’s claims about Dr. Coomer were false and

   that they have published and continue to publish highly defamatory content with either

   knowledge of its falsity or reckless disregard for the truth.

             90.   Oltmann has offered no evidence in support of his allegations against

   Dr. Coomer. Oltmann does not know Dr. Coomer and had no personal knowledge of

   Dr. Coomer at the time of the alleged Antifa conference call. Oltmann has not disclosed

   any witness with personal knowledge that identified Dr. Coomer on the alleged Antifa

   conference call. Oltmann has not identified any expertise or reliable methodology with

   which he identified Dr. Coomer on the alleged Antifa conference call. Oltmann did not

   record the call despite allegedly conducting a Project Veritas-style sting to expose Antifa

   journalists. Instead, Oltmann’s allegations against Dr. Coomer were based on the lie

   Oltmann made up about the Google search and alleged YouTube videos of Dr. Coomer he




   136 Id.




                                                54
Case No. 1:22-cv-01129-NYW-SKC Document 1-1 filed 05/05/22 USDC Colorado pg 55 of
                                     67




   claims to have subsequently watched at a later undisclosed time. These are not reliable

   methodologies for identification.

         91.    Similarly, Oltmann has no personal knowledge of any election fraud

   involving Dr. Coomer. Oltmann has not disclosed any witness with personal knowledge

   of any election fraud committed by Dr. Coomer. Oltmann has offered no evidence of

   election fraud committed by Dr. Coomer. And Oltmann has not identified any expertise

   in elections systems with which to identify election fraud. Instead, Oltmann’s allegations

   of fraud were based on his speculation of Dr. Coomer’s Facebook posts and his

   employment with Dominion, neither of which include evidence of election fraud.

   The Facebook posts themselves are limited to Dr. Coomer’s personal and political beliefs,

   which have no probative value as to the allegations made.

         92.    Otherwise, Oltmann’s allegations are based on anonymous sources—

   specifically unknown and unverified speakers on an Antifa call Oltmann allegedly

   infiltrated. Only after Dr. Coomer filed suit against Oltmann did Oltmann claim to have

   personal knowledge of other participants on the purported call. However, the witnesses

   Oltmann directly or indirectly identified have denied any knowledge of such a call, denied

   any knowledge of the statements Oltmann alleged occurred on the call, and denied any

   knowledge of Dr. Coomer on such a call. No other participants have come forward and

   Oltmann has not disclosed any other alleged participants. Regardless, Oltmann’s alleged

   knowledge of some participants does not impute knowledge of the relevant unknown and

   unverified speakers on which Oltmann based his claims. Those alleged speakers remain

   anonymous.




                                              55
Case No. 1:22-cv-01129-NYW-SKC Document 1-1 filed 05/05/22 USDC Colorado pg 56 of
                                     67




          93.   Oltmann’s allegations regarding the alleged Antifa call itself have varied.

   Oltmann initially provided no explanation for how he infiltrated the alleged Antifa call.

   Oltmann then claimed to have gained access from a Colorado Springs journalist,

   Heidi Beedle. However, Heidi Beedle has provided sworn testimony that she has no

   knowledge of the alleged call or Oltmann’s allegations. Oltmann has since acknowledged

   his claim that she was on the call was a “wild guess.” Oltmann now claims another

   unnamed Antifa member gave him access to the call but has refused to disclose the alleged

   witness’s name. Oltmann has not identified when the purported call occurred, at times

   placing the call in mid-to late-September and at times stating it occurred on or about the

   week of September 27, 2020. A screenshot Oltmann allegedly took of the Google search

   of the terms “Eric,” “Dominion,” and “Denver Colorado,” entered into evidence, and

   swore to its authenticity under oath is dated September 26, 2020, which would place the

   Google search before the call, but that document has now been revealed as a fabrication

   that was actually created on November 11, 2020. Oltmann’s placement of the call changed

   again with the filing of his reply in support of his special motion to dismiss in Denver

   District Court. Specifically, Oltmann introduced in his reply the Declaration of John “Tig”

   Tiegen (Tiegen), who claims Oltmann alleged a call occurred sometime between

   September 17 and 21, 2020. Notably, Tiegen’s description of Oltmann’s allegations did

   not include Dr. Coomer, Dominion, or election fraud, but, instead, only theories that

   “journalists were trying out some propaganda.”         Tiegen himself has no personal

   knowledge of an alleged call or of Oltmann’s allegations against Dr. Coomer. Oltmann

   has provided no record evidence of the call itself, such as electronic records




                                               56
Case No. 1:22-cv-01129-NYW-SKC Document 1-1 filed 05/05/22 USDC Colorado pg 57 of
                                     67




   contemporaneously made that list identifying information such as the date, time, or

   method of the call. Instead, Oltmann has provided undated notes Oltmann alleges he

   took during the call. Similarly, the method of communication has also changed with

   Oltmann first alleging it was a phone call only to now allege it was a Zoom call. Moreover,

   Oltmann has no recording of the call despite Oltmann having allegedly accessed it to

   investigate Antifa.137

           94.     Defendants have been on notice that Dr. Coomer had sued Oltmann for

   defamation and that his claims were unreliable. In that litigation, Oltmann has fabricated

   evidence to support his claims, lied about that evidence under oath, and defaulted on a

   motion seeking a preservation order for devices and other records that would prove his

   fraudulent conduct, and has still not abided by that Order as of this filing.

           95.     In addition, Oltmann has continually defied court-ordered discovery in a

   separate proceeding related to this matter; refused to produce relevant evidence; refused

   to disclose alleged information; and refused to provide relevant deposition testimony.

   This conduct is not new, nor is it unknown to Defendants, as Oltmann regularly discusses

   his legal troubles publicly, including at length during the Symposium.                      Oltmann’s

   convenient excuse—that he fears his source will be subjected to some unspecified harm—

   only serves to highlight his deception.            Like his unnamed, unsubstantiated source,

   Oltmann has put forth no credible evidence of an acute threat to anyone in this case—

   except to Dr. Coomer.



   137 See Joe Oltmann, Dominion, Big Tech, and How They Stole It, CONSERVATIVE DAILY PODCAST (Nov. 9,

   2020) (McGuire at 1:06:27: “But we don’t have it recorded.” Oltmann: “It doesn’t matter that I don’t have
   it recorded!”)




                                                      57
Case No. 1:22-cv-01129-NYW-SKC Document 1-1 filed 05/05/22 USDC Colorado pg 58 of
                                     67




   I.      Defendants harmed Dr. Coomer.

           96.     The harm caused by Defendants’ repeated and ongoing nationwide

   publication of false claims about Dr. Coomer is immense. Despite an utter lack of any

   evidence whatsoever for the false claims, Dr. Coomer has received countless credible

   death threats, and continues to receive those threats on a regular basis. Defendants are

   familiar with Oltmann’s social media presence, his daily podcast, and his frequent calls

   for political violence and the execution of his political adversaries. The following are just

   a few illustrative examples of the countless threats directed at Dr. Coomer138 on the basis

   of the lies that Defendants have published and persist in publishing.

           97.     On May 9, 2021, just after the Frankspeech interview with Oltmann and the

   day before Lindell accused Dr. Coomer of treason, Twitter user @HoseaCanusimi agreed

   that Dr. Coomer would soon be executed for treason.




   138 Plaintiff has documented at least 1,040 different online accounts using the terms “kill,” “die,” “shoot,”

   “treason,” “hang,” “traitor,” “arrest,” and/or “attack” in posts containing the term “Coomer” between
   January 12, 2021, and June 30, 2021 alone. That number is inevitably far higher now, as Dr. Coomer
   continues to receive death threats to this day.




                                                       58
Case No. 1:22-cv-01129-NYW-SKC Document 1-1 filed 05/05/22 USDC Colorado pg 59 of
                                     67




         98.    A week later, on May 15, 2021, Twitter user @RogaJolly called Dr. Coomer

   a “traitor” and said he was “on his way to GITMO for treason.”




         99.    As another example, on August 24, 2021, just days after the Cyber

   Symposium, Dr. Coomer received the following text message on his personal cell phone:




                                             59
Case No. 1:22-cv-01129-NYW-SKC Document 1-1 filed 05/05/22 USDC Colorado pg 60 of
                                     67




          100.    Despite all of this, Defendants persisted and continue to persist in airing the

   false claims against Dr. Coomer. The onslaught of threats Dr. Coomer has experienced

   and the necessary measures he has been forced to take to protect himself are the direct

   result of Defendants’ defamatory conduct.               Dr. Coomer has and will continue to

   experience serious and severe emotional and physical distress as a result. The harm

   Defendants have caused to Dr. Coomer’s reputation,139 privacy, safety, and earnings, and

   other pecuniary loss is immense.




   139 These false statements have damaged Dr. Coomer’s professional reputation, which depended on working

   relationships with state and county officials and compromised his continued involvement and employment
   in relation to and support of elections. See Saja Hindi, GOP demand for probe of Colorado’s Dominion
   voting system part of “debunked conspiracy theories.” House speaker says, DENVER POST, Dec. 7, 2020,
   https://www.denverpost.com/2020/12/07/colorado-republicans-dominion-investigation/.




                                                    60
Case No. 1:22-cv-01129-NYW-SKC Document 1-1 filed 05/05/22 USDC Colorado pg 61 of
                                     67




                                   V.     CAUSES OF ACTION

   A.     Defamation Against Defendants

          101.   Plaintiff fully incorporates the prior paragraphs, as well as the Introduction

   of this Complaint.

          102.   Dr. Coomer is neither a public official nor a public figure. He is a private

   individual that Defendants, by their own conduct and for their own ends, targeted and

   elevated into the public sphere. Defendants intentionally caused the publication of false

   and unprivileged oral and written statements about Dr. Coomer and ratified false

   statements of and concerning Dr. Coomer made by others. Their false statements have

   been seen, read, or heard by millions of individuals across the United States, across

   Colorado, and specifically in Denver, Colorado.

          103.   The defamatory meaning of Defendants’ false statements is apparent from

   the face of their publication, refer to Dr. Coomer, and are understood to be about him.

   These statements are defamatory per se as they inherently injure Dr. Coomer’s

   reputation, impute a crime, and disparage his business practices. On their face, they

   falsely assert Dr. Coomer has participated in a conspiracy that undermined the integrity

   of the election; disenfranchised millions of voters; and fraudulently elected the president

   of the United States. Defendants falsely allege Dr. Coomer accomplished this through

   fraudulent business practices as an employee of Dominion. Defendants falsely allege

   Dr. Coomer is a traitor. Defendants’ false statements have subjected Dr. Coomer to scorn,

   outrage, and threats from his community.           Their false statements have harmed




                                               61
Case No. 1:22-cv-01129-NYW-SKC Document 1-1 filed 05/05/22 USDC Colorado pg 62 of
                                     67




   Dr. Coomer’s reputation by lowering him in the estimation of at least a substantial and

   respectable minority of the community.

          104.   Defendants published their false statements both negligently and with

   actual malice. Defendants knew or had reason to know that these statements were false

   and published their statements with knowledge or reckless disregard of their falsity.

   Defendants failed to contact and question obvious available sources for corroboration;

   disregarded reliable sources refuting their claims; had no credible bases for the false

   allegations made; fabricated specific allegations; treated speculation and innuendo as

   evidence; and published their allegations in a manner calculated to create a false

   inference. Their allegations were inherently improbable, derived from unreliable sources,

   and are unsupported by evidence. Defendants preconceived a conspiracy and then set out

   to establish that conspiracy to further their own ends. Frankspeech and MyPillow ratified

   and endorsed the statements of Lindell and the other Frankspeech hosts who promoted

   the false claims against Dr. Coomer and are both independently and vicariously liable for

   the conduct described herein. Frankspeech and MyPillow could have put a stop to Lindell

   and other Frankspeech hosts’ conduct and intentionally allowed them to continue to

   defame Dr. Coomer.

          105.   As a direct and proximate result of Defendants’ conduct, Dr. Coomer has

   suffered significant actual and special damages including, without limitation, harm to his

   reputation, emotional distress, stress, anxiety, lost earnings, and other pecuniary loss.




                                               62
Case No. 1:22-cv-01129-NYW-SKC Document 1-1 filed 05/05/22 USDC Colorado pg 63 of
                                     67




   B.     Intentional Infliction of Emotional Distress Against Defendants

          106.   Plaintiff fully incorporates the prior paragraphs, as well as the Introduction

   of this Complaint.

          107.   Defendants engaged in extreme and outrageous conduct. Their conduct was

   calculated to cause Dr. Coomer severe emotional distress. Defendants falsely alleged

   Dr. Coomer perpetrated a criminal conspiracy against every American citizen to overturn

   the results of the presidential election. They branded Dr. Coomer a traitor and made him

   a pariah. They encouraged the dissemination of these false claims. They exploited public

   fear and directed vitriol and threats against Dr. Coomer. Oltmann has directly made

   terroristic threats against Dr. Coomer, calling on people to harm Dr. Coomer and placing

   Dr. Coomer in fear of imminent injury and death. Defendants have knowingly elevated

   Oltmann’s statements and adopted his false allegations and threats. These actions have

   had their intended effect. Dr. Coomer has had an onslaught of harassment and credible

   death threats issued against him; he is at risk in his home or in going to work; his presence

   puts his family, friends, colleagues, and his community in danger. All aspects of his life

   have been altered in response to Defendants’ conduct, including things as basic as where

   to live, how to go out in public, and when to see family and friends. The results of

   Defendants’ ongoing conduct are foreseeable and obscene. This conduct is so outrageous

   in character and extreme in degree as to go beyond all possible bounds of decency.

   It should be regarded as atrocious and determined intolerable in a civilized community.

          108.   Defendants are aware of Oltmann’s consistently violent and threatening

   rhetoric. They know he frequently calls for the execution of his political opponents, that




                                                63
Case No. 1:22-cv-01129-NYW-SKC Document 1-1 filed 05/05/22 USDC Colorado pg 64 of
                                     67




   he is closely affiliated with an extremist militia group, that he talks about Dr. Coomer

   almost daily, and that even his own former allies have expressed concerns about his

   constant calls to violence. Despite this knowledge, Defendants persist in publishing,

   promoting, and ratifying Oltmann’s false and extremely dangerous lies about Dr. Coomer.

          109.   As a direct and proximate result of Defendants’ conduct, Dr. Coomer has

   suffered significant actual and special damages including, without limitation, emotional

   distress, overwhelming stress and anxiety, lost earnings, and other pecuniary loss.

   C.     Civil Conspiracy Against Defendants

          110.   Plaintiff fully incorporates the prior paragraphs, as well as the Introduction

   of this Complaint.

          111.   Defendants engaged in a conspiracy to defame and inflict emotional distress

   upon Plaintiff.

          112.   Defendants’ collective objective was to promote the false claim that the

   2020 presidential election was rigged for their own financial and political gain. To do

   that, Defendants agreed, both expressly and implicitly, to create a demonstrably false

   narrative that the election had been rigged and that President Trump lost his reelection

   bid because of fraudulent election activities.

          113.   Defendants fed their narrative by falsely accusing Plaintiff of both having

   the ability and intent to rig the presidential election and actually subverting the election

   results so as to disenfranchise millions of voters. Defendants fabricated their false

   narrative by using Plaintiff’s alleged (and false) affiliation with “Antifa,” speculation as to

   his access to election hardware and software, and his personal political beliefs. In order




                                                 64
Case No. 1:22-cv-01129-NYW-SKC Document 1-1 filed 05/05/22 USDC Colorado pg 65 of
                                     67




   to further their objective, Defendants agreed, by their words and conduct, to publish and

   republish defamatory statements about Plaintiff and threats towards Plaintiff.

          114.    As a result of Defendants’ coordinated conduct, Plaintiff has become the

   target of death threats and harassment and suffered significant actual and special

   damages proximately caused by their conduct, including, without limitation, emotional

   distress, overwhelming stress and anxiety, lost earnings, and other pecuniary loss.

   D.     Permanent Injunction

          115.    Plaintiff fully incorporates the foregoing paragraphs, as well as the

   Introduction of this Complaint.

          116.    Plaintiff seeks permanent injunctive relief to remove all Defendants’

   defamatory statements upon final adjudication of the claims at issue.

                                VI.   DEMAND FOR RETRACTION

          117.    Plaintiff demands Defendants immediately and publicly retract all

   defamatory statements regarding Plaintiff. Plaintiff reserves the right to amend his

   pleadings in accordance with the Colorado Rules of Civil Procedure. Plaintiff anticipates

   amending his pleadings as more information becomes available, including the full scope

   of defamatory statements Defendants have made.

                                      VII.   JURY DEMAND

          118.    Pursuant to Colorado Rule of Civil Procedure 38, Plaintiff requests a jury to

   decide all issues of fact.




                                                65
Case No. 1:22-cv-01129-NYW-SKC Document 1-1 filed 05/05/22 USDC Colorado pg 66 of
                                     67




                                     PRAYER FOR RELIEF

          For these reasons, Plaintiff respectfully requests that Defendants be cited to

   appear and answer, and that the Court enter judgment against Defendants, including,

   but not limited to:

          •      Permanent injunctive relief requiring Defendants and their officers,
                 agents, servants, employees, and attorneys to remove any and all
                 defamatory publications made about Dr. Coomer;

          •      Actual and special damages against Defendants in an amount to be
                 proven at trial;

          •      Leave to amend this Complaint and allege exemplary damages in an
                 amount to be proven at trial after the exchange of initial disclosures
                 pursuant to Colorado Rules of Civil Procedure and Plaintiff
                 establishes prima facie proof of triable issues pursuant to
                 C.R.S. § 13-21-102.

          •      Attorney’s fees and costs;

          •      Prejudgment and post-judgment interest; and

          •      Such other and further relief, both general and special, to which
                 Plaintiff may be justly entitled to receive.




                                               66
Case No. 1:22-cv-01129-NYW-SKC Document 1-1 filed 05/05/22 USDC Colorado pg 67 of
                                     67




        Respectfully submitted this 4th day of April 2022.

                                          Respectfully submitted,

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                                            67
